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                      Exhibit A
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                 UNITED STATES INTERNATIONAL TRADE COMMISSION
                                  Washington, D.C.


     In the Matter of

     CERTAIN BOTULINUM TOXIN
     PRODUCTS, PROCESSES FOR                                        Inv. No. 337-TA-1145
     MANUFACTURING OR RELATING TO
     SAME AND CERTAIN PRODUCTS
     CONTAINING SAME


                                    COMMISSION OPINION

          The Commission has determined that there has been a violation of section 337 of the

Tariff Act of 1930, as amended, 19 U.S.C. § 1337 (“section 337”), based on misappropriation of

trade secrets, on review of the final initial determination (“FID”) of the presiding administrative

law judge (“ALJ”). This opinion sets forth the Commission’s reasoning in support of its

determination. The Commission affirms all findings in the FID that are not inconsistent with

this opinion.

I.        BACKGROUND

          A.     Procedural Background

          On March 6, 2019, the Commission instituted this investigation under section 337 based

on a complaint filed by Medytox Inc. of Seoul, South Korea (“Medytox”); and Allergan plc 1 of

Dublin, Ireland and Allergan, Inc. of Irvine, California (collectively, “Allergan”). 2 See 84 Fed.

Reg. 8112-13 (Mar. 6, 2019). The complaint, as supplemented, alleges a violation of section



1
 On July 1, 2020, the ALJ issued an initial determination granting an unopposed motion to
amend the complaint and notice of investigation to reflect a corporate name change from
Allergan plc to Allergan Limited. See Order No. 43 (July 1, 2020), unreviewed, Comm’n
Notice (July 20, 2020).
2
     “Complainants” refers to Medytox and Allergan, collectively.


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337 based upon the importation and sale in the United States of certain botulinum toxin products,

processes for manufacturing or relating to same and certain products containing same by reason

of misappropriation of Complainants’ trade secrets. See id. The notice of investigation names

Daewoong Pharmaceuticals Co., Ltd. of Seoul, South Korea (“Daewoong”) and Evolus, Inc. of

Irvine, California (“Evolus”) (collectively, “Respondents”) as respondents in this investigation.

See id. The Office of Unfair Import Investigations (“OUII”) is also a party to the investigation.

See id.

          The presiding Administrative Law Judge (“ALJ”) conducted an evidentiary hearing on

February 4-7, 2020. On July 6, 2020, the ALJ issued a final initial determination (“FID”)

finding a violation of section 337 based on the misappropriation of Complainants’ trade secrets,

the threat or effect of which is to destroy or substantially injure an industry in the United States.

See FID at 273. The ALJ’s recommended determination (“RD”) recommends that, should the

Commission find a violation of section 337, that the Commission issue: (1) a limited exclusion

order (“LEO”) barring entry, for a duration of ten (10) years, of certain botulinum toxin products

that are imported or sold in the United States by Respondents Daewoong and Evolus; and (2) a

cease and desist order (“CDO”) against Evolus. See RD at 258, 264. The RD also

recommends that the Commission impose a bond in the amount of $441 per 100U vial based on

price differential during the period of Presidential review. See id. at 271.

          On July 28, 2020, the Commission issued a notice requesting statements on the public

interest. See 85 Fed. Reg. 46711 (Aug. 3, 2020) (“the PI Notice”). On August 5, 2020, the

parties filed statements on the public interest pursuant to Commission Rule 210.50, 19 C.F.R. §




                                                  2
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210.50. On August 17-18, 2020, several non-parties filed written submissions in response to the

PI Notice. 3

        On September 21, 2020, the Commission issued a notice determining to review the FID

in part. See 85 Fed. Reg. 60489-90 (Sept. 25, 2020) (“the WTR/Remedy Notice”).

Specifically, the Commission determined to review the FID’s findings with respect to subject

matter jurisdiction, standing, trade secret existence and misappropriation, and domestic industry,

including the existence of such domestic industry as well as any actual or threatened injury

thereto. See id. The Commission determined not to review the remainder of the FID. See id.

The notice invited written submissions from the parties on issues under review, and from the

parties, interested government agencies, and any other interested parties on issues of remedy, the

public interest, and bonding. See id. The Commission requested that the parties brief their

positions with reference to the applicable law and the evidentiary record regarding the following

questions:

        1.     Describe the differences between the Medytox strain and other Hall
               A-hyper strains and explain the relevance of those differences to
               Complainants’ trade secrets misappropriation claim.

        2.     Discuss the availability in the marketplace of Hall A-hyper strains
               since Dr. Hall’s discovery in the 1920s and the U.S. Army’s
               development in the 1940s (i.e., not just during the 2009-2010
               timeframe and thereafter).

        3.     For the alleged domestic industry costs regarding activities related
               to regulatory approvals and compliance (including costs for

3
 Submissions were filed by AEON Biopharma, Inc., Kingsmen Digital Ventures, Merz North
America, Inc., the R Street Institute, Dr. Frank Agullo, Dr. Bonnie Baldwin, Dr. Louis Bucky,
Dr. M. Bradley Calobrace, Susan Coker, Dr. Richard D’Amico, Michael Farah, Dr. Shubha
Ghosh, Jennifer Gowdy, Dr. Vladimir Grigoryants, Gary Clyde Hufbauer, Dr. Lorrie Klein, Jacki
Kment, Mark Koepsell, Dr. Karen Kohatsu, Dr. Mary Lupo, Dr. Manolis Manolakakis, Roger
Milgrim, Dr. Todd Mirzai, Dr. Bradley Musser, Justine Politz, Kimmi Ragone, Drs. Morgan and
Lesley Rebach, Susie Reese, Dr. James Stern, Dr. Adrienne Stewart, Dawn Stringini, and Dr.
Eduardo Weiss.


                                                3
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              activities such as relevant research and development or testing):
              (A) which of those regulatory activities are of a nature that can only
              be performed in the United States (for either legal or practical
              reasons), and which could have been carried out in another country;
              and (B) does the record permit allocation of costs between those two
              categories?

       4.     What is the federal legal standard for determining what constitutes
              a misappropriation of trade secrets sufficient to establish an “unfair
              method of competition” under Section 337?

       5.     Is injury to the complainant an element of a federal trade secret
              misappropriation cause of action that is necessary to establish an
              “unfair method of competition” under Section 337(a)(1)(A)
              (distinct from the “threat or effect” requirements of Section
              337(a)(1)(A)(i)-(iii))?

       6.     Please explain whether, consistent with the federal common law, the
              injury requirement discussed in the FID (see FID at 45 (“(4) that the
              respondent has used or disclosed the trade secret causing injury to
              the complainant.”) (emphasis added)) refers to injury within the
              meaning of section 337(a)(1)(A)(i)-(iii) (i.e., “threat or effect”
              subsections) and not a separate “injury” requirement for establishing
              trade secret misappropriation.

       On October 9, 2020, the parties, including the IA, filed written submissions in response to

the WTR/Remedy Notice, 4 and on October 16, 2020, the parties filed responses to each other’s




4
 See Complainants’ Initial Submission on the Issues under Review in the Final Initial
Determination Finding a Violation of Section 337 and on Remedy, the Public Interest, and
Bonding (Oct. 9, 2020) (hereinafter, “Complainants’ Resp. Br.”); Respondents’ Response to the
Commission on Issues under Review, Remedy, Bond and Public Interest and Request for Oral
Argument (Oct. 9, 2020) (hereinafter, “Respondents’ Resp. Br.”); Opening Submission of the
Office of Unfair Import Investigations in Response to the Commission’s September 21, 2020
Notice (Oct. 9, 2020) (hereinafter, “IA’s Resp. Br.”).


                                                4
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submissions.5 Respondents also filed a notice of a new factual development on September 30,

2020, indicating that Daewoong was able to obtain a C. botulinum strain from another source.

       On October 5-9, 2020, certain non-parties filed written submissions concerning the public

interest, including: AEON Biopharma, Inc.; the American Antitrust Institute; Dr. William

Adams; Dr. Thomas Bender III; Dr. Arkady Kagan; and Dr. Alexander Rivkin.

       B.      Overview of the Technology

       BTX 6 products have therapeutic as well as aesthetic applications, including, “the

treatment of chronic migraine headaches, cervical dystonia, hyperhidrosis, spasticity, [] urinary

incontinence, . . . the temporary improvement to the appearance of glabellar lines (sometimes

called frown lines), lateral canthal lines (sometimes called crow’s feet), and forehead lines.”

See FID at 9 (citing Joint Technology Stipulation at 2 (July 26, 2019)). For example, the BTX

product can “operate[] as a neuromuscular blocking agent, which functions by temporarily

interfering with nerve signals and temporarily relaxing targeted muscles through localized

injections.” See id. at 10 (citing CX-16C (Neervannan WS 7) at Q/A 9).

       BTX products are made from the bacterium Clostridium botulinum, commonly referred

to as C. botulinum. See id. As explained in the FID, the C. botulinum bacteria, when cultured



5
  See Complainants’ Reply Submission on the Issues under Review in the Final Initial
Determination Finding a Violation of Section 337 and on Remedy, the Public Interest, and
Bonding (Oct. 16, 2020) (hereinafter, “Complainants’ Reply Br.”); Respondents’ Reply Brief on
the Commission’s Questions on Review and on Remedy, the Public Interest, and Bonding (Oct.
16, 2020) (hereinafter, “Respondents’ Reply Br.”); Reply Submission of the Office of Unfair
Import Investigations in Response to the Commission’s September 21, 2020 Notice (Oct. 16,
2020) (hereinafter, “IA’s Reply Br.”).
6
  BTX refers to botulinum toxin and is used interchangeably with BoNT, i.e., botulinum
neurotoxin.
7
 “Neervannan WS” refers to the Witness Statement (“WS”) of Dr. Seshadri Neervannan,
Allergan’s Senior Vice President of Pharmaceutical Development.


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(i.e., grown), produce a neurotoxin complex which includes a neurotoxin protein molecule along

with several other neurotoxin associated proteins. See id. (citing CX-10C (Pickett 8 WS) at Q/A

187). Producing BTX products “involves culturing the C. botulinum bacteria, and then

separating, isolating, and purifying the neurotoxin complex” produced from that bacteria. See

id. The BTX products of Complainants Medytox and Allergan, as well as respondent

Daewoong 9 use the neurotoxin complex, with a molecular weight of 900 kDa. 10 See id.

          The FID also noted that “[d]ifferent strains of C. botulinum produce different serotypes

[or variants] of neurotoxin.” See id. (citing CX-10C (Pickett WS) at Q/A 67). There are seven

serotypes (A to G) and several subtypes within each serotype (e.g., A1, A2, etc.). See id. Not

every strain, however, produces commercially viable BTX products. See id. The properties of

the strain as well as the manufacturing process are essential in determining whether and how a

strain can be used to produce a commercially viable BTX product. See id. (citing CX-10C

(Pickett WS) at Q/A 70). For example, the Hall A-hyper strain, a strain of C. botulinum, which

was developed by U.S. army researchers in the 1940s, “makes the separation and purification

process easier and the manufacturing process safer” and “only sporulates 11 poorly and does not

form spores during the manufacturing process, which streamlines downstream processing and




8
     Dr. Andrew Pickett is Complainants’ technical expert in this investigation.
9
  Daewoong manufactures and Evolus sells their BTX products under the brand name Jeuveau®
in the United States. See FID at 9 (citations omitted).
10
  The molecular masses of proteins, nucleic acids, and other large polymers are often expressed
with the units kilodaltons (kDa).
11
  “Sporulate” means forming spores. As explained in the FID, “[c]ertain bacterial cells may
convert into dormant spores, which are robust bodies that can withstand extreme conditions.”
See FID at 12 n.5 (citing RX-3164C (Witness Statement of Respondents’ technical expert, Dr.
Dr. Brenda Anne Wilson) at Q/A 179).


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helps manufacturers meet the high standards required for making botulinum toxin.” See id. at

11-12 (citing CX-10C (Pickett WS) at Q/A 71-83; CX-13C (Jung 12 WS) at Q/A 37).

         C.     The Asserted Trade Secrets

         As noted in the FID, Complainants allege that Daewoong misappropriated:

(i) Medytox’s Clostridium botulinum bacterial strain used to manufacture its BTX products; and

(ii) certain Medytox’s manufacturing processes for BTX products. 13 See FID at 19-21; id. at 19

(citing Compl. at ¶ 52); see also id. at 20 (“Medytox also alleges that Daewoong misappropriated

Medytox’s secret manufacturing processes and related testing information for its 900 kDa

botulinum toxin products, including Meditoxin, Innotox, and MT10109L.”); id. at 112-13 (citing

CX-2572C (Complainant Medytox’s Disclosure Pursuant to Order No. 17) at 2-3; CX-10

(Pickett WS) at Q/As 194-203). Specifically, the FID explains that “Medytox uses a strain of C.

botulinum that originate[s] from a subculture of the Hall A-hyper strain,” but “is genetically

distinct from other ‘Hall A-hyper’ strains.” See id.

         In particular, Complainants allege that “Daewoong obtained Medytox’s strain through

former Medytox employee Dr. Byung Kook Lee (also referred to as ‘BK Lee’).” See FID at 20.

Complainants further allege that “Daewoong misappropriated Medytox’s secret manufacturing

processes and related testing information for its 900 kDa botulinum toxin products, including

Meditoxin, Innotox, and MT10109L.” See id.



12
     Dr. Hyun Ho Jung is the founder and Chief Executive Officer of Medytox.
13
   While the FID at times refers to the Meditoxin manufacturing process, see, e.g., FID at 19, the
FID also makes clear that the trade secrets include but are not limited to the Meditoxin process.
See FID at 112-13; see also id. at 129 (stating that “Medytox used the Meditoxin manufacturing
process as the starting point for extensive experimentation to further improve its manufacturing
process, which resulted in several innovations” and that “Medytox’s innovations were recorded
in documents such as the EBR, the PQP, and the attachments to the PQP.”); see also CX-2063C
(Experimental Batch Record (“EBR”)); CX-2064C (Project and Quality Plan (“PQP”)).


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       Complainants allege that Daewoong uses the misappropriated Medytox strain of C.

botulinum to produce DWP-450, Daewoong’s BTX product, which is accused in this

investigation. See id.

       D.      Complainants’ Domestic Industry Products

       The FID considers Allergan’s BOTOX® Cosmetic, BOTOX® therapeutic, and

MT10109L 14 as domestic industry products. See FID at 160. The FID finds that Allergan’s

manufacture, R&D, and sale of BOTOX® products qualify as a domestic industry, even though

they do not practice the misappropriated trade secrets, because the BOTOX® products directly

compete with the accused products. See id. at 158 (citing TianRui Grp. Co. v. ITC, 661 F.3d

1322, 1335-37 (Fed. Cir. 2011)). The FID also finds that the importation and sale of

Respondents’ unfair imports have the threat and effect of causing substantial injury to the

domestic industry relating to Allergan’s BOTOX® products. See id. at 208, 220.

       The FID further finds that Allegan established a domestic industry with respect to

MT10109L, which is a BTX product that Medytox licensed to Allergan for commercialization in

the United States and is produced using Medytox’s bacterial strain and manufacturing processes

that allegedly constitute trade secrets; but MT10109L has not yet been approved by the FDA for

sale in the United States. Id. at 189-90. The FID finds, however, that complainants have not

provided sufficient evidence that importation of Respondents’ products have a direct effect or




14
  MT10109L is a liquid-form, animal-protein-free alternative BTX product. See FID at 6-7.
BOTOX® and the accused products, on the other hand, contain animal proteins.


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 likely effect of threatening substantial injury to Allergan’s industry related to MT10109L. Id. at

 225. 15

           E.     Respondents’ Accused Products

           The notice of investigation defines the scope of the investigation and the accused

 products as follows:

                  [B]otulinum neurotoxin products manufactured by [Daewoong],
                  specifically: (1) DWP-450 (prabotulinumtoxinA), variously
                  marketed under the brand names Nabota®, JeuveauTM and other
                  brand names; (2) products containing or derived from DWP-450;
                  and (3) products containing or derived from the BTX strain assigned
                  the high-risk pathogen control number 4-029-CBB-IS-001 by the
                  Korean Centers for Disease Control and Prevention or the
                  manufacturing process used to manufacture DWP-450.

 See 84 Fed. Reg. 8112. As noted in the FID, “DWP-450-derived products are sold in South

 Korea under the brand name Nabota, in the United States under the brand name Jeuveau®, and

 in Canada and Europe under the brand name Nuceiva.” See FID at 8. As noted above,

 Daewoong manufactures the accused products in South Korea and Evolus sells them in the

 United States. See id. at 9 (citing RX-3162C (Moatazedi 16 WS) at Q/A 75; Hr’g Tr. at 899

 (Moatazedi)).




 15
    No party petitioned for review of the FID’s finding of no injury as to MT10109L. Therefore,
 the Commission has determined that Complainants have abandoned seeking relief as to
 MT10109L by failing to file a petition for review of the no injury finding of the FID.
 Accordingly, on review, the Commission terminates Complainants’ claim of a Section 337
 violation based on MT10109L and the FID’s findings on domestic industry as to MT10109L are
 therefore moot.
 16
      David Moatazedi is the President and Chief Executive Officer of Evolus.


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 II.    LEGAL STANDARDS

        A.      Standard of Review

        On review, Commission Rule 210.45(c) provides that “the Commission may affirm,

 reverse, modify, set aside or remand for further proceedings, in whole or in part, the initial

 determination of the administrative law judge” and that “[t]he Commission also may make any

 findings or conclusions that in its judgment are proper based on the record in the proceeding.”

 See 19 C.F.R. § 210.45(c). In addition, as explained in Certain Polyethylene Terephthalate

 Yarn and Products Containing Same, “[o]nce the Commission determines to review an initial

 determination, the Commission reviews the determination under a de novo standard.” Inv. No.

 337-TA-457, Comm’n Op., 2002 WL 1349938, *5 (June 18, 2002) (citations omitted). This is

 “consistent with the Administrative Procedure Act which provides that once an initial agency

 decision is taken up for review, ‘the agency has all the powers which it would have in making

 the initial decision except as it may limit the issues on notice or by rule.’” Id. (citing 5 U.S.C.

 § 557(b)).

        B.      Existence and Misappropriation of Trade Secrets

        The existence of a trade secret is a prerequisite to any finding of misappropriation of

 trade secrets. The Uniform Trade Secrets Act (“UTSA”) defines a “trade secret” as information

 that “(i) derives independent economic value, actual or potential, from not being generally

 known to, and not being readily ascertainable by proper means by, other persons who can obtain

 economic value from its disclosure or use, and (ii) is the subject of efforts that are reasonable

 under the circumstances to maintain its secrecy.” UTSA § 1(4). The Commission considers

 six factors in determining whether a trade secret exists:

                (1)     the extent to which the information is known outside of
                        complainant’s business;



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                (2)     the extent to which it is known by employees and others
                        involved in complainant’s business;

                (3)     the extent of measures taken by complainant to guard the
                        secrecy of the information;

                (4)     the value of the information to complainant and to his
                        competitors;

                (5)     the amount of effort or money expended by complainant in
                        developing the information; and

                (6)     the ease or difficulty with which the information could be
                        properly acquired or duplicated by others.

 See Certain Processes for the Manufacture of Skinless Sausage Casings & Resulting Prod., Inv.

 No. 337-TA-148/169, Initial Determination, 1984 WL 273789, *94 (July 31, 1984) (“Sausage

 Casings”), unreviewed, Comm’n Op., 1984 WL 273970, at *2 (Jan. 1, 1984) (citing Restatement

 of Torts § 757, comment b). These factors are not individually dispositive. Rather, they are

 “instructive guidelines for ascertaining whether a trade secret exists.” See Learning Curve Toys,

 Inc. v. PlayWood Toys, Inc., 342 F.3d 714, 722 (7th Cir. 2003).

        As to misappropriation, the Federal Circuit in TianRui held that “a single federal

 standard, rather than the law of a particular state, should determine what constitutes a

 misappropriation of trade secrets sufficient to establish an ‘unfair method of competition’ under

 section 337.” TianRui, 661 F.3d at 1327. Sources of applicable law include the UTSA, the

 Restatement (Third) of Unfair Competition, the Restatement of Torts, the Defend Trade Secrets

 Act of 2016 (18 U.S.C. §§ 1831-39) (“DTSA”), 17 and federal common law. Complainants bear

 the burden to establish a prima facie case of misappropriation but once they make that showing,



 17
    The DTSA provides that “district courts of the United States shall have original jurisdiction of
 civil actions brought under this section.” 18 U.S.C. § 1836(c).


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 the burden shifts to Respondents to show independent development. See Sausage Casings, 1984

 WL 273789, *95 (“When respondent asserts that his use of the secret process is the product of

 independent development, respondent bears a heavy burden of persuasion to show that

 independent development.”); see also Pioneer Hi-Bred Int’l v. Holden Found. Seeds, Inc., 35

 F.3d 1226, 1241 (8th Cir. 1994) (“[O]nce [plaintiff] produced convincing evidence of

 misappropriation, [defendant] was obligated to provide persuasive evidence of lawful

 derivation.”).

        The Commission noted that “the UTSA defines misappropriation as:

                  (i)    acquisition of a trade secret of another by a person who
                         knows or has reason to know that the trade secret was
                         acquired by improper means; or

                  (ii)   disclosure or use of a trade secret of another without express
                         or implied consent by a person who

                         (A)    used improper means to acquire knowledge of the
                                trade secret; or

                         (B)    at the time of disclosure or use, knew or had reason
                                to know that his knowledge of the trade secret was
                                (I) derived from or through a person who had utilized
                                improper means to acquire it; (II) acquired under
                                circumstances giving rise to a duty to maintain its
                                secrecy or limit its use; or (III) derived from or
                                through a person who owed a duty to the person
                                seeking relief to maintain its secrecy or limit its use;
                                or

                         (C)    before a material change of his [or her] position,
                                knew or had reason to know that it was a trade secret
                                and that knowledge of it had been acquired by
                                accident or mistake.”

 See Certain Crawler Cranes & Components Thereof, Inv. No. 337-TA-887, Comm’n Op., 2015

 WL 13817116, *22, *33 (May 6, 2015) (citing UTSA § 1(2)). The Commission also held that

 the elements of the unfair act of misappropriation of trade secrets are:



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                (1)     a protectable trade secret exists;

                (2)     the complainant is the owner of the trade secret;

                (3)     the complainant disclosed the trade secret to respondent
                        while in a confidential relationship or the respondent
                        wrongfully took the trade secret by unfair means; and

                (4)     the respondent has used or disclosed the trade secret causing
                        injury to the complainant.

 See id. (citing UTSA, § 1(4)). The Commission noted that the UTSA does not define the term

 “use” (element four) but that the Restatement provides that “use” includes “the marketing of

 goods that embody a trade secret, [where] the trade secret is employed in manufacturing or

 production, or is relied on to assist or accelerate research or development.” See id. at *33 (citing

 Restatement (Third) of Unfair Competition § 40, Comment c).

        Element four of misappropriation, as stated above, also requires injury to the

 Complainant. Such injury stems from the language of section 337(a)(1)(A) which requires a

 showing of injury as an element of a trade secret misappropriation claim, e.g., actual or

 threatened injury to a domestic industry under section 337(a)(1)(A)(i). The substantive unfair

 act or unfair method of competition relating to misappropriation of trade secrets does not require

 a separate injury showing under the UTSA or the Restatement. See UTSA § 1(2); Restatement

 (Third) of Unfair Competition § 40; Restatement of Torts § 757; see also TianRui, 661 F.3d at

 1327 (“[A] single federal standard, rather than the law of a particular state, should determine

 what constitutes a misappropriation of trade secrets.”); accord Complainants’ Resp. Br. at 33-40;

 but see IA’s Resp. Br. at 18-19 (“[T]he trade secret injury requirement is separate from the

 (a)(1)(A) injury requirement and that the trade secret injury requirement is satisfied when the




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 trade secret is used or disclosed.”) (citing Milgrim on Trade Secrets § 7.07[1] (1968)). 18

 Respondents argue that “[t]he common law . . . includes a clear requirement that there be ‘injury

 to the complainant’ or, as some of the common law authorities phrase it, ‘detriment to the

 plaintiff.’ . . . This common-law injury requirement is separate and distinct from the injury

 showing that is required under Section 337(A)(1)(a).” See Respondents’ Resp. Br. at 14 (citing

 Milgrim on Trade Secrets, § 15.01[1][d] (2018)). While federal district courts may require a

 distinct type of injury to establish standing or damages, such injury is not required to establish

 the substantive unfair act of misappropriation of trade secrets before the Commission.

 Respondents conflate the injury for standing or damages with a substantive injury requirement to

 establish the tort of trade secret misappropriation. See Respondents’ Resp. Br. at 14-25.

        C.      Domestic Industry

        Under section 337(a)(1)(A), a complainant must prove the existence and injury, or threat

 of injury, to a domestic industry or to trade and commerce in the United States. See 19 U.S.C.

 § 1337(a)(1)(A).

                1.      Existence of a Domestic Industry

        Trade secret misappropriation investigations at the Commission are governed by 19

 U.S.C. § 1337(a)(1)(A), which declares unlawful—

                Unfair methods of competition and unfair acts in the importation of
                articles . . ., into the United States, or in the sale of such articles by
                the owner, importer, or consignee, the threat or effect of which
                is—

                (i) to destroy or substantially injure an industry in the United States;

                (ii) to prevent the establishment of such an industry; or

 18
   In effect, the IA states that injury is not a separate requirement because it is subsumed in the
 use or disclosure element. See IA’s Resp. Br. at 18-19; IA’s Reply Br. at 8; accord
 Complainants’ Reply Br. at 11.


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                 (iii) to restrain or monopolize trade and commerce in the United States.

 19 U.S.C. § 1337(a)(1)(A).     Complainants alleged injury under section 337(a)(1)(A)(i) (see

 Compl. at ¶ 148) and therefore, they must show that they have an “industry in the United States,”

 and that the industry has suffered “actual substantial injury, or threat of substantial injury.” See,

 e.g., Certain Rubber Resins & Processes for Mfg. Same, Inv. No. 337-TA-849, Comm’n Op.,

 2014 WL 7497801, *5 (Feb. 26, 2014) (“Rubber Resins”) (“Therefore, there is a requirement not

 only that the complainant demonstrate the existence of a domestic industry, but also that there be

 actual substantial injury or the threat of substantial injury to a domestic industry.”).

         In addressing whether an “industry . . . in the United States” exists under section

 337(a)(1)(A), the Commission has historically considered the “nature and significance” of the

 complainant’s activities that allegedly form the domestic industry. See Certain Miniature,

 Battery-Operated, All Terrain, Wheeled Vehicles (“Toy Vehicles”), Inv. No. 337- TA-122,

 USITC Pub. No. 1300, Comm’n Op. at 6 (Oct. 1982) (“The threshold question of the existence

 of an ‘industry . . . in the United States’ . . . requires an inquiry into the nature and significance

 of complainants’ business activities in the United States which relate to the STOMPER toy

 vehicles.”), aff’d by Schaper Mfg. Co. v. ITC, 717 F.2d 1368 (Fed. Cir. 1983); Certain Modular

 Structural Systems, Inv. No. 337-TA-164, USITC Pub. No. 1668, Comm’n Op. at 13 (June 1984)

 (necessary to determine “the nature and significance” of complainant’s activities in the United

 States with respect to the relevant product to determine “whether there is an industry ‘in the

 United States’ within the meaning of section 337”); Certain Cube Puzzles, Inv. No. 337-TA-112,

 USITC Pub. 1334, Comm’n Op. at 30 (Jan. 1983) (“We find that Ideal’s domestic activities are

 of the appropriate nature and are significant enough to conclude that their domestic business




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 activities constitute an ‘industry . . . in the United States.’”). 19   Indeed, Commission decisions

 under section 337(a)(1)(A) after the amendments to Section 337 in the Omnibus Trade and

 Competitiveness Act of 1988, Pub. L. No. 100-418, have continued to rely upon pre-1988

 section 337 precedent.     See Certain Ink Markers & Packaging Thereof, Inv. No. 337-TA-522,

 Order No. 30 at 57-58, (July 25, 2005) (“Ink Markers”) (“The administrative law judge finds that

 investigations prior to the Omnibus Trade & Competitiveness Act of 1988 (1988 Act) and when

 injury to a domestic industry had to be established for all unfair acts, including statutory

 intellectual property based cases, are helpful in determining how to define the industry for the

 acts relating to the trade dress in issue.”) (unreviewed, see USITC Pub. No. 3971); see also

 Certain Cast Steel Railway Wheels, Certain Processes for Manufacturing or Relating to Same &

 Certain Prods. Containing Same, Inv. No. 337-TA-655, ID at 78-79 n. 38 (Oct. 20, 2009),

 unreviewed by Notice (Dec. 17, 2009) (“Cast Steel Railway Wheels”) (same).            In light of

 Congress’s decision to retain the term “industry” and the fact that Congress was aware of the

 Commission’s pre-1988 precedent, the pre-1988 precedent continues to provide guidance for

 investigations instituted under the current version of section 337(a)(1)(A).       See S. REP. NO 100-

 71 at 129; see also 2B SUTHERLAND STATUTORY CONSTRUCTION § 49:9 (7th ed.) (“[L]egislative

 action by amendment or appropriation of some parts of a law which has received a

 contemporaneous and practical construction may indicate approval of interpretations relating to

 the unchanged and unaffected parts.”); Lindahl v. Office of Pers. Mgmt., 470 U.S. 768, 782-83

 (1985) (“Moreover, the fact that Congress amended [the relevant statutory section] in 1980

 without explicitly repealing the established [legal] doctrine itself gives rise to a presumption that


 19
     In affirming the Commission’s determination in Toy Vehicles, the Federal Circuit found that
 the “nature and extent” of complainant’s activities were “insufficient” to constitute an “industry
 in the United States.” Schaper Mfg., 717 F.2d at 1372.


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 Congress intended to embody [that doctrine] in the amended version of [that statutory

 section].”).   Specifically, the Commission looks at what activities are performed by the

 complainant in the United States and determines whether they are the types of activities that

 Congress sought to protect from unfairly traded imports or whether they are the types of

 activities that a “mere importer” would perform. See, e.g., Certain Apparatus for the

 Continuous Production of Copper Rod (“Copper Rod”), Inv. No. 337-TA-52, USITC Pub. 1017,

 Comm’n Op. at 53-55 (Nov. 1979) (finding a domestic industry in the development, licensing of

 patents and trade secret know-how, engineering, start-up operations and other technical

 assistance for SCR systems as well as subcontracted component manufacture).

         The Commission considers “the realities of the marketplace,” when determining the

 domestic industry in a trade secrets investigation or other investigation based on unfair acts other

 than the infringement of statutory intellectual property rights (such as patents).    The Federal

 Circuit has upheld the Commission’s pragmatic approach to the determination of whether a

 complainant can obtain protection under Section 337 for its domestic industry.        For example, in

 TianRui, the Federal Circuit affirmed the Commission’s definition of the complainant’s domestic

 industry as the investments and activities relating to “wheels domestically produced by the trade

 secret owner” which compete with appellants’ imported wheels, even though these wheels did

 not use the complainant’s trade secrets.    See TianRui, 661 F.3d at 1335-37, affirming Cast Steel

 Railway Wheels, Inv. No. 337-TA-655, ID at 80 (Oct. 16, 2009) (domestic industry is defined as

 a United States industry that is “the target of the unfair acts and practices.”), unreviewed by

 Comm’n Notice (Dec. 17, 2009); see also 19 C.F.R. § 210.12(a)(6)(ii) (requiring the complaint

 to “include a detailed statement as to whether an alleged domestic industry exists or is in the

 process of being established (i.e., for the latter, facts showing that there is a significant likelihood




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 that an industry will be established in the future), and include a detailed description of the

 domestic industry affected, including the relevant operations of any licensees” for claims under

 section 337(a)(1)(A)(i) or (ii)). The TianRui Court further rejected the contention that

 “investigations involving intellectual property under the unfair practices provision [(i.e., section

 337(a)(1)(A))] require the existence of a domestic industry that relates to the asserted intellectual

 property in the same manner that is required for statutory intellectual property [(i.e., section

 337(a)(1)(B)-(E))].” See TianRui, 661 F.3d at 1335-37.

                  2.    Injury to the Domestic Industry

        Under section 337(a)(1)(A)(i), “the complainant [must also] demonstrate . . . that there

 [is] actual substantial injury or the threat of substantial injury to a domestic industry.” See

 Rubber Resins, Comm’n Op., 2014 WL 7497801, *5; see also 19 C.F.R. § 210.12(a)(8)

 (requiring the complaint to “state a specific theory and provide corroborating data to support the

 allegation(s) in the complaint concerning the existence of a threat or effect to destroy or

 substantially injure a domestic industry, to prevent the establishment of a domestic industry, or to

 restrain or monopolize trade and commerce in the United States” for claims under section

 337(a)(1)(A)).

        In addition, “[w]hen the complainant alleges actual injury, there must be a causal nexus

 between the unfair acts of the respondents and the injury.” Rubber Resins, Comm’n Op., 2014

 WL 7497801, at *30. Similarly, when the complainant alleges a threatened injury, such “injury

 must [] be ‘substantive and clearly foreseen,’ with a causal connection between the action of the

 respondents and the threatened injury.” Id. at *32 (citations omitted).

 III.   DISCUSSION

        The Commission determined to review the FID’s findings with respect to subject matter

 jurisdiction, standing, trade secret existence and misappropriation, and domestic industry,


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 including the existence of such domestic industry as well as any actual or threatened injury

 thereto. See 85 Fed. Reg. at 60489-90. For the reasons set forth below, the Commission has

 determined to affirm the FID in part and reverse in part. Specifically, the Commission has

 determined to affirm with modification the FID’s findings with respect to subject matter

 jurisdiction, standing, domestic industry, and trade secret existence and misappropriation as it

 relates to Medytox’s manufacturing processes. The Commission has also determined to reverse

 the FID’s finding that a protectable trade secret exists with respect to Medytox’s bacterial strain.

 Accordingly, the Commission finds a violation of section 337 with respect to Respondents’

 importation and sale in the United States of Respondents’ unfair imports.

        A.      Subject Matter Jurisdiction

        The FID finds “subject matter jurisdiction based on the alleged (and in this case proven)

 importation of products made by misappropriated trade secrets, which has resulted in harm to the

 domestic industry.” See FID at 27-28 (citing Rubber Resins, ID at 16-18, 2013 WL 4495127

 (June 17, 2013), unreviewed in relevant part, Comm’n Op. (Jan. 15, 2014)). The FID dismisses

 Respondents’ “extraterritoriality argument,” finding that such argument “was rejected by the

 Federal Circuit in TianRui.” See id. at 26 (citing TianRui, 661 F.3d at 1329). The FID reasons

 that “TianRui did not turn on whether the trade secrets at issue had been developed and practiced

 in the United States” but on whether the “goods at issue were imported and injured, or could

 injure, a domestic industry.” See id. at 26-27 (citing TianRui, 661 F.3d at 1332). The

 Commission affirms the FID’s findings as to subject matter jurisdiction as explained below.

        Respondents argue that the FID’s “interpretation of the scope of Section 337 is contrary

 to the statute and its legislative history, which confirms that Section 337’s enforcement powers

 exist to protect and remedy violations of U.S. intellectual property rights.” See Respondents’




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 Pet. at 14-15. Respondents rely on 19 U.S.C. § 1337(a)(1)(B)-(C), the legislative history

 relating to the 1988 amendments (e.g., H.R. REP. NO. 100-40, pt. 1, at 155 (1987), and precedent

 relating to the statutory intellectual property rights (Interdigital Commc’ns v. ITC, 707 F.3d 1295

 (Fed. Cir. 2013) (en banc)). Complainants respond that these arguments relate to the statutory

 intellectual property provisions rather than trade secret misappropriation under section

 337(a)(1)(A). See Complainants’ Pet. Resp. at 15-16.

        Respondents further argue that jurisdiction over this investigation is not supported by

 precedent, specifically stating that “in Tianrui [and Rubber Resins], the trade secrets at issue

 were developed and owned by a U.S. company.” Respondents’ Pet. at 19-20 (citing TianRui,

 661 F.3d at 1324; Rubber Resins, ID, 2013 WL 4495127, at *22-27). Respondents contend that

 the Commission has no jurisdiction to adjudicate claims of infringement of non-U.S. intellectual

 property (“IP”) rights.

        Contrary to Respondents’ assertions, the Commission finds that subject matter

 jurisdiction exists in this investigation. As the Federal Circuit recognized in TianRui, the

 “focus” of section 337 is “on the act of importation and the resulting domestic injury” and

 therefore, the Commission “does not purport to regulate purely foreign conduct.” TianRui, 661

 F.3d at 1329 (citing Morrison v. Nat’l Austl. Bank Ltd., 130 S. Ct. 2869, 2884 (2010)). The

 Supreme Court has held that “[i]f the conduct relevant to the statute’s focus occur[s] in the

 United States, then the case involves a permissible domestic application even if other conduct

 occurred abroad.” RJR Nabisco, Inc. v. European Cmty., 136 S. Ct. 2090, 2101 (2016); see also

 Akzo N.V. v. USITC, 808 F.2d 1471, 1488 (Fed. Cir. 1986) (“Properly viewed, § 337 and its

 predecessor provisions represent a valid delegation of this broad Congressional power for the

 public purpose of providing an adequate remedy for domestic industries against unfair practices




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 beginning abroad and culminating in importation.”). Here, both importation and injury involve

 conduct occurring in the United States; importation involves the entry of goods into the United

 States and injury relates to “an industry in the United States” under section 337(a)(1)(A)(i). See

 FID at 22; infra section III(D)(2).

         Respondents’ contention that this is a foreign dispute between foreign companies

 involving no U.S. IP rights is also incorrect. See Respondents’ Pet. at 20 (TianRui, 661 F.3d at

 1324); see also TianRui, 661 F.3d at 1324 (“We conclude that the Commission has authority to

 investigate and grant relief based in part on extraterritorial conduct insofar as it is necessary to

 protect domestic industries from injuries arising out of unfair competition in the domestic

 marketplace.”). While TianRui is not factually identical to the present case (because in TianRui,

 the trade secrets owner was located in the United States), TianRui is not so limited and does not

 negate jurisdiction in this case. Accord IA’s Pet. Resp. at 5; Complainants’ Pet. Resp. at 18; 19

 U.S.C. § 1337(a)(1)(A). Rather, as discussed above, TianRui found that the Commission “does

 not purport to regulate purely foreign conduct” and TianRui made such finding “[i]n light of the

 statute’s focus on the act of importation and the resulting domestic injury.” See TianRui, 661

 F.3d at 1329 (citing Morrison v. Nat’l Austl. Bank Ltd., 130 S. Ct. 2869, 2884 (2010)). Nor

 does any of Respondents’ cited precedent impose a geographical restriction as to the locus of

 development or ownership of the trade secrets asserted in a Section 337 investigation as

 Respondents contend.

         In any event, Respondents’ arguments ignore the FID’s findings that (a) Medytox

 licensed its [                            ] to [



         ] to co-complainant Allergan, see FID at 31-32 (“The license includes [




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                         ].”) (quoting JX-50C.20); and (b) the misappropriation of the trade

 secrets injures and threatens a domestic industry relating to Allegan’s BOTOX® products. See

 FID at 208, 220. Accord Complainants’ Pet. Resp. at 11; infra section III(D)(1).

        Furthermore, Respondents incorrectly suggest that the trade secrets must be developed or

 practiced in the United States. See Respondents’ Pet. at 20. Although Section 337(a)(1)(B)-

 (E), protects domestic industries that exploit U.S. IP rights as defined by the IP statutes specified

 in these provisions, there is no requirement that these statutory intellectual property rights are

 restricted to IP that was created or developed in the United States. For example, U.S. patent

 rights do not require development or invention in the United States. See, e.g., 35 U.S.C. § 119.

 Similarly, there is no requirement in Section 337(a)(1)(A) that trade secrets be developed,

 created, or practiced in the United States. The Federal Circuit in TianRui distinguished unfair

 acts based on statutory IP rights (i.e., under section 337(a)(1)(B)-(E)) and expressly rejected a

 requirement that the domestic industry practice the asserted trade secrets under section

 337(a)(1)(A). See TianRui, 661 F.3d at 1335-37.

        Thus, the Commission has determined to affirm the FID with the supplemental analysis

 discussed above.

        B.      Standing

        The FID finds that both Medytox (as the owner) and Allergan (as the licensee) have

 standing to assert trade secret misappropriation in this investigation. See FID at 28-38.

 Specifically, the FID finds that “Medytox has established ownership of its trade secret strain and




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 manufacturing process.” See id. at 29. In addition, as to Allergan, the FID notes that “Allergan

 has an exclusive license as to MT10109L and [

                             ].” See id. at 36 (citing JX-50C.14). The FID further finds that

 “[t]he plain language of the license agreement states that Allergan is the exclusive licensee [

                            ] which includes the asserted trade secrets in this investigation.” See

 id. (citing JX-50C.15). The FID also finds that “significant aspects of the asserted trade secrets

 are incorporated in the manufacturing of MT10109L, and it uses the misappropriated BTX

 strain.” See id. The FID concludes that “Allergan is the exclusive licensee of these trade

 secrets in the U.S. with regard to MT10109L, and therefore has independent standing.” See id.

 at 36-37 (citing CX-11C (Rhee 20 WS) at Q/As 52, 55, 57, 120; CX-12C (Kim 21 WS) at Q/A 90;

 CX-17C (Chang 22 WS) at Q/A 70); accord Complainants’ Pet. Resp. at 28; IA’s Pet. Resp. at 7.

          Respondents erroneously assert that “standing is a constitutional requirement before the

 Commission just as in Article III courts.” See Respondents’ Pet. at 22 (citing Certain Wireless

 Devices, Including Mobile Phones & Tablets II, Inv. No. 337-TA-905, Order No. 12 at 7 (May 1,

 2014) (“Certain Wireless Devices”)). 23




 20
  Dr. Chang Hoon Rhee is Head of the Biopharmaceutical Development Department at
 Medytox.
 21
      Dr. Hack Woo Kim is a Director at Medytox.
 22
      Dr. Seong Hun Chang is Head of Quality System Management at Medytox.
 23
    In Certain Wireless Devices, respondents alleged that the asserted patents were not properly
 assigned to the sole complainant. Certain Wireless Devices, Inv. No. 337-TA-905, Order No.
 12 at 2.


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        While the Commission requires by rule 24 that at least one complainant is the owner or

 exclusive licensee of the subject intellectual property, see Commission Rule 210.12(a)(7),

 standing before administrative agencies is distinct from constitutional standing before Article III

 federal courts. See Envirocare of Utah, Inc. v. Nuclear Regulatory Comm’n, 194 F.3d 72, 74

 (DC Cir. 1999) (“Agencies . . . are not constrained by Article III of the Constitution; nor are they

 governed by judicially-created standing doctrines restricting access to the federal courts.”)

 (citation omitted); Ecee, Inc. v. Fed. Energy Regulatory Comm’n, 645 F.2d 339, 349 (5th Cir.

 1981) (“Administrative adjudications, however, are not an [A]rticle III proceeding to which

 either the ‘case or controversy’ or prudential standing requirements apply; within their legislative

 mandates, agencies are free to hear actions brought by parties who might be without standing if

 the same issues happened to be before a federal court.”) (citations omitted); accord

 Complainants’ Pet. Resp. at 25. 25

        Respondents do, however, correctly assert that Allergan is not an exclusive licensee of

 the asserted trade secrets. Respondents explain that “Medytox is free [




 24
    The Commission may impose certain standing requirements by rule or through adjudication.
 See, e.g., SiRF Tech., Inc. v. ITC, 601 F.3d 1319, 1326 n.4 (Fed. Cir. 2010) (affirming violation
 finding in patent infringement investigation; noting that the “Commission ‘strictly reads the
 federal [patent] standing precedent’ into its rules”); Certain Carbon & Alloy Steel Prods., Inv.
 No. 337-TA-1002, Comm’n Op., 2018 WL 7572059, *15-16 (Mar. 19, 2018) (requiring
 complainants to sufficiently plead antitrust injury standing when asserting certain antitrust claims
 before the Commission).
 25
    On appeal before a federal court, however, a party seeking review of an agency’s final action
 in a federal court must “supply the requisite proof of an injury in fact” to establish standing. See
 Phigenix, Inc. v. Immunogen, Inc., 845 F.3d 1168, 1171-72 (Fed. Cir. 2017) (citing
 Massachusetts v. EPA, 549 U.S. 497, 517 (2007); Consumer Watchdog v. Wis. Alumni Research
 Found., 753 F.3d 1258, 1261 (Fed. Cir. 2014)).


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                                    ]. See Respondents’ Pet. at 27 (citing JX-50C at §§ 1.51. 1.60,

 2.4(a)). Thus, Respondents conclude, “Allergan has [

                                 ]. See id. at 28 (citing WiAv Solutions LLC v. Motorola, Inc., 631

 F.3d 1257, 1265-67 (Fed. Cir. 2010) (“[A]n exclusive licensee lacks standing to sue a party who

 has the ability to obtain . . . a license from another party with the right to grant it.”); see also

 Complainants’ Pet. Resp. at 31 (“The license is exclusive as to MT10109L and [

                                                                  ].”) (citing JX-50C.14).

         WiAv Solutions, however, applies to standing in federal courts and, as discussed above,

 the Commission Rule requires only that “at least one complainant”–not every complainant–be

 the owner or exclusive licensee of the subject intellectual property. See 19 C.F.R. §

 210.12(a)(7); see also Certain Diltiazem Hydrochloride & Diltiazem Preparations, Inv. No. 337-

 TA-349, Order No. 35, 1994 WL 930265, *2 (Sept. 2, 1994) (finding that a purchaser,

 manufacturer, and seller of pharmaceutical products had “sufficient commercial and legal

 interest” to appear as a joint complainant with the patent owner); accord Complainants’ Pet.

 Resp. at 23.

         Thus, the Commission has determined to affirm the FID with the modified analysis

 discussed above.

         C.      Trade Secret Misappropriation

                 1.      The Medytox Strain

                         (i)     Existence of a Trade Secret

         The FID finds that “the Medytox BTX strain . . . is genetically unique from other strains,

 distinguishable from other Hall A-hyper strains, and is commercially valuable.” See FID at 64.

 The FID analyzes the six Sausage Casings factors (see supra section II(B)) and concludes that




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 the Medytox strain is a protectable trade secret. See id. at 65-87. Specifically, which respect to

 factors 1 and 2, the FID finds that, while the DNA sequence of Hall A-hyper strains may be

 known, it is the embodiment of the DNA in the bacteria, i.e., “the viable bacterial cell capable of

 reproduction” that gives the Medytox strain its value. See id. at 67-68. As to factor 3, the FID

 finds (and Respondents do not dispute) that “Medytox took adequate precautions to protect its

 Hall A-hyper strain from disclosure.” See id. at 69-70.

          With respect to factor 4, the FID finds that “Medytox’s strain is commercially valuable”

 and that “[t]he strain is an essential element of Medytox’s manufacturing process for BTX.”

 See FID at 73-74 (citing CX-11C (Rhee WS) at Q/A 10; CX-13C (Jung WS) at Q/A 37). The

 FID also discusses the “qualities that make [Medytox’s strain] particularly valuable for

 commercial manufacture” but finds that such qualities appear to result from the fact that “[t]he

 Medytox strain is derived from the Hall A-hyper strain,” rather than any improvement by

 Medytox itself. See id. at 74-76 (citing CX-13C (Jung WS) at Q/As 21, 35; CX-15C (Keim 26

 WS) at Q/A 4).

          As to factor 5, the FID states that “there is no requirement that a trade secret be the

 product of any particular amount of investment.” See id. at 80 (citing Learning Curve, 342 F.3d

 at 728). The FID further finds that while “[t]he strain passed without monetary compensation

 (at least at the time of transfer) between people connected by close relationships, . . . [t]he value

 of a gift is not . . . diminished by the fact that it is given without monetary payment.” See id. at

 81 (citing Hr’g Tr. (Jung) at 332-333; Liautaud v. Liautaud, 221 F.3d 981, 986 (7th Cir. 2000)).

          Lastly, as to factor 6, the FID finds “no evidence that Medytox ever made its strain

 available for sale or available to others outside of Medytox for any purpose.” See id. at 87.


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      Dr. Paul S. Keim was retained as a technical expert for Complainants.


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 The FID does not address whether A-hyper strains were previously available but finds that

 “Daewoong’s internal contemporaneous records further reflect that [



                                                                            ].” See id. at 86 (citing

 CX-2180C.9-11 (2009 BTA Memo)). The FID thus concludes that “the Medytox strain is

 protectable as a trade secret, because: (a) the strain has economic value, (b) it is not generally

 known or readily ascertainable, and (c) Medytox has taken reasonable precautions to maintain its

 secrecy.” See id. at 87 (citing Rubber Resins, Comm’n Op. at 10, 2014 WL 7497801, at *5).

        Respondents argue that “[t]he unprotected sharing of the strain extinguished any claim to

 trade secret protection for it.” See Respondents Pet. at 52 (citing 1 Milgrim on Trade Secrets

 §1.05[1] at 1-316 (“Since secrecy is a requisite element of a trade secret, it follows that

 unprotected disclosure of the secret will terminate that element and, at least prospectively, forfeit

 the trade secret status.”)). Respondents further contend that “from the time Dr. Ivan Hall found

 the strain in soil in the 1920s until government restrictions on transfer of dangerous bacteria

 heightened in 2001, the Hall-A Hyper strain passed between and through an innumerable array

 of academic, government, and private entities—without consideration or documentation, and

 without any effort to impose confidentiality obligations, including restrictions on further

 disclosure and use, on those who were granted access to the strain.” See id.

        Respondents further argue that “trade secret eligibility is applied to information—it does

 not apply to a material object or living organism.” See id. at 53-54. Respondents contend that

 “the Medytox botulinum strain does not embody any information that is secret” but that “[t]he

 strain is a copy of the so-called Hall-A Hyper strain—a well-known cell line that traces back to

 Dr. Ivan Hall’s study of the organism almost a century ago.” See id. at 56. In particular,




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 Respondents explain, “the Medytox strain only differs from the Hall-A Hyper sequence

 published on GenBank by six nucleotides or ‘SNPs’ 27 out of 3.6 million” and “these

 infinitesimally small differences do not imbue the Medytox strain with any distinguishing or

 superior characteristics as compared to any other Hall-A Hyper strain.” See id. (citing CX-

 15C.15, 29 (Keim WS) at Q/As 48-49, 112); see also CX-15C (Keim WS) at Q/A 118 (testifying

 that SNPs are caused by mutations that develop as a strain is grown and replicated).

          Still further, Respondents argue that “Medytox fails the competitive advantage

 requirement [for trade secrets]” because “Medytox is far from alone in using the Hall-A Hyper

 strain to produce commercial botulinum toxin,” and “the majority of competitors in the

 botulinum market (past, present, and in the foreseeable future) use exactly the same strain.” See

 id. at 58. Lastly, Respondents contend that “Medytox’s copy of the Hall-A strain also cannot be

 a trade secret because the strain is available for purchase on the open market for relatively

 inexpensive prices.” See id. at 62.

          Complainants rebut Respondents’ contention that trade secret protection cannot apply to

 a live organism. Complainants explain that “the valuable characteristics of Medytox’s strain are

 the product of . . . ‘genetic messages’—that is, information that is encoded in the strain’s genetic

 makeup.” See Complainants’ Pet. Resp. at 45-46 (citing FID at 62; CX-10C (Pickett WS) at

 Q/A 113; Certain Coamoxiclav Prods. Potassium Clavulanate Prods., & Other Prods. Derived

 From Clavulanic Acid, Inv. No. 337-TA-479, ID, 2003 WL 1793272, at *7 (Mar. 6, 2003)

 (finding that the “reason that the [bacterial] strain has an ‘independent significant commercial

 value’ is that it allegedly contains a highly valuable trade secret, i.e., its genetic information.”);

 Pioneer Hi-Bred, 35 F.3d at 1235-41 (affirming the district court’s finding that the genetic


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      “SNP” refers to a single nucleotide polymorphism. See FID at 100.


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 messages of Pioneer’s hybrid seed corn were trade secrets)); see also Salsbury Labs., Inc. v.

 Merieux Labs., Inc., 735 F. Supp. 1555, 1569 (1989) (finding the use of a particular strain of a

 virus to constitute trade secret information); accord IA’s Pet. Resp. at 19-20.

        Complainants contend that “the Medytox strain is unique . . . and different from all other

 strains, including those published on GenBank.” See Complainants’ Pet. Resp. at 52 (citing FID

 at 64, 67-68); see also IA’s Pet. Resp. at 21 (“Daewoong did not create a commercially viable

 strain from the Hall A-hyper strain CP000727.1 that was available on GenBank, was unable to

 find a company from which to license a commercially viable strain and then resorted to

 misappropriating Medytox’s BTX strain.”); see also Complainants’ Resp. Br. at 18 (agreeing

 that “the genetic sequence of the Hall A-hyper strain held at the Fort Detrick Army base has been

 published” but arguing that “[c]reation of bacterial strains such as C. botulinum using a

 published DNA sequence simply is not possible”) (citing FID at 67-68). Complainants further

 argue that “[t]here is no evidence that at the time Daewoong sought a strain for commercial BTX

 production, it could have obtained Medytox’s strain or any other version of the Hall A-hyper

 [strain].” See Complainants’ Pet. Resp. at 47-48 (citing CX-10C (Pickett WS) at Q/As 89, 99).

        The Commission finds that Complainants fail to satisfy their burden to show that the

 Medytox strain is a protectable trade secret. In particular, Complainants’ expert failed to

 demonstrate that the Medytox strain is distinct from its parent Hall A-hyper strain that Medytox

 was freely gifted with no restrictions, including no obligations of confidentiality. See FID at 90-

 91; CX-10C (Pickett WS) at Q/As 110-113; CX-13C (Jung WS) at Q/A 22; CX-14C (Yang WS)

 at Q/As 7-8. The record shows that the Medytox strain stems from a Hall A-hyper strain that

 was given to Medytox by Dr. Kyu Hwan Yang with no restrictions as to use or confidentiality.

 Id. Dr. Yang had acquired the Hall A-hyper strain that he gifted to Medytox from the




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 University of Wisconsin in 1979, again free of any restrictions. The record also shows that the

 Hall A-hyper strain held by the University of Wisconsin was freely circulated to other entities as

 well. Under these circumstances, where the strain was circulated without restrictions, and

 because as explained below there is no evidence in the record that the Medytox strain is distinct

 from the parent strain given to Medytox, the Commission finds that it does not qualify as a trade

 secret.

           Complainants appear to focus on the 2009-2010 timeframe when Daewoong sought a

 Hall A-hyper strain. However, they fail to address Respondents’ argument that the strain was

 widely and freely available before the anthrax attacks of 2001, which caused governments to

 tighten regulations on the transfer of dangerous bacteria. See Respondents’ Pet. at 51-52; see

 also CX-10C (Pickett WS) at Q/As 70-109. Complainants also focus on the period after the

 1980s when “commercial applications for botulinum neurotoxin were discovered” and “the

 limited number of companies and institutions that held the Hall A-hyper strain took steps to

 secure their strains.” See Complainants’ Resp. Br. at 23-24 (citing RX-3506.4 (Pickett); CX-

 10C (Pickett WS) at Q/A 61, 67-85; CX-16C (Neervannan WS) at Q/As 7, 10, 15); accord IA’s

 Resp. Br. at 10-14.

           The fact that the strains became valuable after the discovery of commercial applications

 or the tightening of government regulations does not salvage the loss of trade secret status of the

 strains before the 1980s. Indeed, as Respondents correctly note, “once trade secret status is lost

 it cannot be regained.” See Respondents’ Pet. at 61 (citing 1 Milgrim on Trade Secrets § 1.03 at

 1-299). Complainants respond that, unlike the present case, “trade secret protection was lost [in

 the cases cited by Respondents] because the trade secret holder itself disclosed it to third parties

 without appropriate confidentiality provisions.” See Complainants’ Pet. Resp. at 55.




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        Here, there is no dispute that the University of Wisconsin was a proper owner when Dr.

 Yang freely and unrestrictedly took samples of the university’s C. botulinum strain to the Korea

 Advanced Institute of Science and Technology in 1978. 28 See Respondents’ Pet. at 60 (citing

 Compl. ¶ 42; CX-5.2-5 (Smith Decl.); CX-14C.12 (Yang WS) at Q/A 10; RX-3166C.20

 (Sullivan WS) at Q/A 111); see also Respondents’ Resp. Br. at 6-7 (citing RX-3024C (Yang

 Dep.) at 23:7-25 (reproduced below), 24:14-25:2, 25:16-26:4, 31:16-33:2); see also CX-14C

 (Yang WS) at Q/As 9-11. As Dr. Yang testified:

                Back [in the 1970s], when it came to the botulinum strains, each
                graduate student doing research, or it could be a post-doctorate
                student as well, they will do – they will conduct their research using
                the strains in the lab, or if they need it, they would request and
                acquire strains from a different university, and they would take the
                strains and they would consider it theirs in conducting their research,
                whether it went – whether such research went on for five years or
                seven to eight years. They would be conducting their own research
                using their own strains, and these strains could have been kept in the
                freezer in the lab, or they could take it and bring it home and keep it
                in their own freezer, and they would use their strains to conduct
                experiments or tests. That was the system that was in place at that
                time at the lab.

 RX-3024C (Yang Dep.) at 23:7-25.

        The IA states that “the Hall A-hyper strain was not readily available,” see IA’s Resp. Br.

 at 3 n.2, but the IA fails to address the evidence of record and Dr. Yang’s own experience and

 testimony in obtaining a C. botulinum strain from the University of Wisconsin. Similarly,

 Complainants do not adequately rebut Respondents’ argument that the strain lost its trade secret

 status by being freely circulated with no confidentiality restrictions. For example, Complainants

 admit to “a limited number of transfers decades ago among academics studying the Hall A-hyper



 28
   The Medytox strain is derived from a parent strain which Dr. Yang obtained from the
 University of Wisconsin and which he subsequently gifted to Medytox. See FID at 81, 90.


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 strain” but argue that such transfers “are not ‘sales’ or evidence that the strain is available ‘for

 purchase.’” See Complainants’ Reply Br. at 6-7. There is no requirement, however, that the

 strain be commercially available or the subject of a sale for the strain to lose any trade secret

 status. See FMC Corp. v. Taiwan Tainan Giant Indus. Co., 730 F.2d 61, 63 (2d Cir. 1984) (“A

 trade secret once lost is, of course, lost forever.”).

         Thus, the Commission finds that Complainants failed to satisfy their burden to establish

 that a trade secret exists and is not lost at least with respect to the strain from the University of

 Wisconsin, which is the parent of Medytox’s strain. In particular, Complainants provide no

 evidence that the Medytox strain is distinct from that of the University of Wisconsin. See

 Respondents’ Pet. at 66-67 (“Dr. Keim reached his ‘unique SNPs’ opinion without analyzing any

 other strains from the [University of Wisconsin] line.”) (citing Hearing Tr. 156:10-25 (Keim)).

 Accordingly, there is no evidence in the record to support a claim that the Medytox strain gained

 trade secret status after it was acquired from Dr. Yang and from the University of Wisconsin.

 As to the SNPs which allegedly distinguish the Medytox strain from other Hall A-hyper strains,

 there is no evidence that they confer “independent economic value, actual or potential, from not

 being generally known” onto the Medytox strain. See UTSA § 1(4). Rather, the SNPs appear

 to be trivial differences that are caused by random mutations that develop as a strain is grown

 and replicated and are not the result of Medytox’s research and development. See CX-15C

 (Keim WS) at Q/A 118. Nor is there any evidence that the SNPs contribute to the unique

 advantages of Medytox’s bacterial strain. See UTSA § 1(4) (defining a trade secret as

 information that “derives independent economic value, actual or potential, from not being

 generally known to, and not being readily ascertainable by proper means by, other persons who

 can obtain economic value from its disclosure or use”). Instead, the advantages the FID




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 identifies (i.e., that the strain is exceptionally productive and stable, that it makes the separation

 and purification process easier, and that it sporulates poorly) do not relate to Medytox’s strain

 specifically but to Hall A-hyper strains generally. See FID at 11-12. Further, as discussed

 above, Complainants’ expert, Dr. Keim, did not analyze other strains originating from the

 University of Wisconsin and did not determine whether the SNPs are unique to Medytox’s strain

 or whether they are present in other University of Wisconsin strains.

         Complainants also argue that “the relevant assessment regarding public accessibility of

 the Medytox strain should focus on the status of the Medytox strain at the time Daewoong stole

 it.” See Complainants’ Resp. Br. at 19, 27 (citing Telex Corp. v. IBM Corp., 367 F. Supp. 258,

 357-58 (N.D. Okla. 1973), aff’d in part, rev’d in part, 510 F.2d 894 (10th Cir. 1975) (“That

 subsequent to the invasion of IBM’s trade secrets a portion of the information in the course of

 marketing of IBM products became available to the public, including Telex, did not excuse

 Telex’s conduct in the first instance nor insulate it from liability to both monetary and equitable

 relief.”). Telex, however, is inapposite because, at the time of the misappropriation, the

 information at issue in that case had not lost trade secret status. In contrast, in the present case,

 the Medytox strain did not qualify as a trade secret at the time of the alleged misappropriation,

 and there can be no misappropriation in the absence of evidence that the Medytox strain had or

 acquired such trade secret status at that time. 29

         Thus, for the reasons explained above, the Commission finds that Complainants failed to

 satisfy their burden to establish that the Medytox strain or its genetic makeup qualify as a trade


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    Notably, Complainants here did not assert claims of conversion or theft (see Compl. ¶¶ 36-
 133) which, unlike misappropriation, do not require establishing the existence of a trade secret.
 See, e.g., Mattel, Inc. v. MGA Entertainment, Inc., 782 F. Supp. 2d 911, 997 (C.D. Cal. 2011);
 Bijan Designer for Men, Inc. v. Katzman, No. 96-CV-7345, 1997 WL 65717, *8 (S.D.N.Y. Feb.
 7, 1997).


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 secret. Accordingly, the Commission has determined to reverse the FID’s finding that the

 Medytox strain qualifies as a trade secret.

                        (ii)    Misappropriation by Daewoong

        The FID finds that Respondents misappropriated the Medytox bacterial strain. See FID

 at 92-110. Specifically, the FID notes that Dr. Byung Kook Lee (also referred to as “BK Lee”),

 a former employee, had access to Medytox’s strain. See id. at 93. The FID finds that “it has

 not been established that Dr. BK Lee took the strain from Medytox and, for consideration or

 otherwise, gave it to Daewoong.” Id. In addition, the FID finds that “no evidence was

 presented to show when and how a specific quantity of Medytox’s strain went missing.” See id.

 at 94. The FID does find, however, that “misappropriation has been shown through the genetic

 evidence.” See id. at 94. Specifically, the FID finds that “the Medytox and Daewoong strains

 share distinctive DNA fingerprints, six SNPs, that confirm they are a match.” See id. at 99

 (citing CX-15C (Keim WS) at Q/A 16, 50, 117-18; CX-2603.1 (Keim WS errata)); see also

 CDX-4C.15 (reproduced below). The FID further finds that “[t]he possibility of two unrelated

 strains sharing the same six identical SNPs at the exact same nucleotide positions along a DNA

 sequence of nearly 3.7 million nucleotides is effectively impossible. See id. (citing CX-15C

 (Keim WS) at Q/A 117).




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 CDX-4C.15.

        The FID further finds that “[i]n addition to the six shared SNPs found in both the

 Medytox and Daewoong strains, Dr. Keim also found shared SNPs between two Medytox ‘minor

 variants’ and the six SNPs that otherwise distinguish the Daewoong strain from the Medytox

 strain.” See id. at 107. When considering these minor variants, Dr. Keim’s phylogenetic tree

 shows “an even shorter branch between the Medytox and Daewoong strains.” See id. at 109

 (citing CDX-4C.19, reproduced below).




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 CDX-4C.19.

        Indeed, the FID explains, “two of the six SNPs that separate the Daewoong sample from

 CB19 . . . are actually the same two SNPs that separate the minor and major variants in CB19,”

 i.e., one of Medytox’s strains. See id. In other words, “[t]he CB19 minor variant clearly

 became ‘fixed’ in the Daewoong cell banks as a major variant.” See id. (citing CX-15C (Keim

 WS) at Q/A 134). Because, “CB19 was created in 2019 . . . via [                 ] from

 CBAM0301 [(a Medytox strain)], and therefore would reflect the major and minor variants

 contained in that vial of the CBAM0301 cell bank . . . [t]he most logical conclusion is that the

 Daewoong strain was obtained from a sample of CBAM0301 or one of the several other

 Medytox cell banks that were created from CBAM0301.” See id. at 109-110 (citing CX-15C

 (Keim WS) at Q/A 135).

        The FID rejects “Daewoong’s claim that it found its strain in the soil, especially in view

 of the fact that the Medytox strain and the Hall A-hyper strain were both developed in the




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 laboratory.” See id. at 103 (citing Hr’g Tr. (Keim) at 203-204, 307). The FID concludes that

 “Daewoong got its strain from . . . Medytox.” See id. at 110.

        Respondents no longer assert the defense of independent development, i.e., that

 Daewoong found its strain in the soil, but they argue that the FID “improperly shift[s] the burden

 to Respondents to prove that Daewoong legitimately obtained its strain.” See Respondents’ Pet.

 at 70. Respondents contend that the “‘close relationship’ [between the Medytox and Daewoong

 strains] is not prima facie proof of misappropriation, as such a relationship could be explained by

 the strains’ common ancestry or parallel evolution.” See id. at 72.

        Respondents further argue that “substantial evidence at the hearing demonstrated that the

 Daewoong strain is significantly different and did not come from the Medytox strain.” See id.

 For example, Respondents argue that “[a]t trial, Dr. Keim admitted that if the Allergan strain or

 another [University of Wisconsin] strain had the same SNPs[] he assumed without evidence were

 ‘unique’ to Medytox and Daewoong, then ‘it would be impossible for me to distinguish which

 one it came from, without considering those [                ].’” See id. at 67 (citing Hr’g Tr.

 (Keim) at 159:12-14). Respondents also fault the ALJ for failing to compel Allergan to produce

 samples of its strain and argue that Dr. Keim should have tested that strain which also descended

 from the University of Wisconsin. See id. at 68. Respondents contend that “[t]he ALJ’s

 discovery ruling precluding discovery into Allergan’s strain and process on the basis of

 insufficient relevance guts his misappropriation finding.” See id. at 69 (citing Order No. 24

 (Sept. 12, 2019)).

        The Commission agrees with the FID’s analysis. The genetic evidence establishes by

 more than a preponderance of the evidence (indeed by near certainty) that Daewoong derived its

 strain from Medytox. Furthermore, Respondents mischaracterize the record. On cross-




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 examination, they asked Dr. Keim to discount the minor alleles theory and to assume that other

 strains from the University of Wisconsin share the same six SNPs as the Medytox and

 Daewoong strains. See Respondents’ Pet. at 67 (citing Hr’g Tr. (Keim) at 159:12-14). Based

 on such an assumption, Dr. Keim testified that he would not be able to conclude whether the

 Daewoong strain was derived from Medytox or another University of Wisconsin strain. See id.

        The problem for Respondents is that there is no support in the record for their assumption

 and they fail to account for additional evidence presented by Dr. Keim (e.g., the minor variants

 evidence). In addition, before the ALJ, Respondents relied on the unpersuasive theory that they

 found their strain in the soil not from some other source relating to the University of Wisconsin.

 See FID at 51-53.

        Thus, the Commission finds that the FID correctly rejects Respondents’ theory and

 correctly credits Dr. Keim’s testimony. See id. at 103; accord Complainants’ Pet. Resp. at 65;

 IA’s Pet. Resp. at 27-29. Furthermore, contrary to Respondents’ assertion, the differences

 between the Medytox and Daewoong strains (in the 16S region) do not negate that Daewoong’s

 strain derives from Medytox. See Respondents’ Pet. at 72 (“Both Dr. Keim and Complainants’

 expert Dr. David Sherman testified that multiple SNPs were found in the highly-conserved and

 slow-to-evolve 16S rRNA region of the two strains.”) (citing CX-15C.50 (Keim WS) at Q/As

 207-210; CX-1964C (Ex. E to Keim Review of Sherman Analysis); Hr’g Tr. (Sherman) 826:15-

 827:18). As Dr. Keim testified, however, “[t]hat the Daewoong strain has experienced

 mutations after being separated from the Medtyox strain does not change the fact that it was

 derived from the Medytox strain.” See CX-15C (Keim WS) at Q/A 215; accord Complainants’

 Pet. Resp. at 69. Nor does the FID improperly shift the burden to Respondents. Rather,

 Complainants presented a solid prima facie case that Respondents acquired Medytox’s strain by




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 improper means. On the other hand, Respondents’ independent development theory is not

 credible. As the IA explains:

                Daewoong’s “independent development” argument requires one to
                accept that a man [




                                                      ].     It is logically and
                scientifically implausible, if not impossible, and the Final ID was
                correct in not accepting Daewoong’s poultry feces story.

 IA’s Pet. Resp. at 29.

        Lastly, Respondents mischaracterize Order No. 24. Respondents did not request a

 sample of Allergan’s bacterial strain but “[d]ocuments and information indicating whether

 Allergan's Hall-A hyper strain produces spores, together with documents laying out the results of

 any such spore testing.” See Order No. 24, at 2. The ALJ properly determined that “discovery

 into the current and historical Allergan process should not be compelled, due to excessive burden

 in view of little or no relevancy to this investigation.” See id. at 8. Indeed, “Complainants do

 not allege that any trade secret asserted in this investigation was misappropriated from Allergan”

 but from Medytox. See id. at 6. In addition, Respondents appear to tie their non-existent

 request for a sample of Allergan’s strain to Dr. Keim’s (Complainants’ expert) alleged failure to

 analyze whether that strain (which also originates from the University of Wisconsin) includes the

 six SNPs shared by Medytox and Daewoong’s strains. See Respondents’ Pet. at 68-69.

 Respondents’ argument is not only unsupported by the record but is also nonsensical. Accord

 Complainants’ Pet. Resp. at 63-64.




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        Thus, the Commission finds that the evidence supports the FID’s findings that Daewoong

 acquired the Medytox strain by improper means. However, because the Commission finds that

 the Medytox strain does not qualify as a protectable trade secret, Complainants cannot establish

 the unfair act of trade secret misappropriation by Daewoong as to the Medytox strain.

                2.     The Medytox Manufacturing Processes

        Complainants assert 13 trade secrets in connection with Medytox’s manufacturing

 processes, namely:

                Trade Secrets 1 and 2: The use of [


                                  ] of the manufacturing process.

                Trade Secret 3: The [

                                                ] of the manufacturing process.

                Trade Secret 4: The use of [


                       ].

                Trade Secret 5: [

                                                                                  ]

                Trade Secret 6: The use of [


                                      ].

                Trade Secret 7: The use of [


                                           ].

                Trade Secret 8: The use of a [
                                                              ].




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               Trade Secret 9: The [
                                              ].

               Trade Secret 10: The use of [

                                ].

               Trade Secret 11: The use of [

                                                        ].

               Trade Secret 12: The use of a second [

                                         ].

               Trade Secret 13: [             ].

 See FID at 112-13 (citing CX-2572C (Complainant Medytox’s Disclosure Pursuant to Order No.

 17) at 2-3; CX-10C (Pickett WS) at Q/As 194-203).

        The FID finds that Daewoong misappropriated Medytox’s trade secrets in its

 manufacturing processes. See FID at 132-52. The FID finds that “[t]he evidence establishes

 that Dr. BK Lee had access to, and knowledge of, numerous details of Medytox’s manufacturing

 process, and also worked with Daewoong when it was trying to develop its own process.” See

 id. at 132. The FID finds that “an abundance of evidence establishes that the Daewoong process

 is derived from, and in many ways identical to, Medytox’s trade secret process.” See id.

 Specifically, the FID finds, “three factors demonstrate that Daewoong misappropriated the

 manufacturing process from Medytox: (1) the similarity of Daewoong’s process to Medytox’s;

 (2) the lack of evidence of Daewoong’s independent development; and (3) the implausibly fast

 timeline by which Daewoong achieved BTX production at commercial scale.” See id.

        The FID further finds that Daewoong’s manufacturing process substantially overlaps with

 Medytox’s manufacturing process. See id. at 134-136 (citing CDX-10C.2 (reproduced below);

 CX-10C (Pickett WS) at Q/As 243-54).



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                                                [




                                                ]

        In particular, the FID discusses “three key similarities” between the Daewoong and

 Medytox processes. See id. at 136. First, the FID finds, “[



        ].” See id. (citing CX-2068C.9 (Medytox Batch Record Version No. 5); JX-22.19

 (Daewoong 450DC-010 Batch Record)). The FID notes that [

                                             ] and that [



        ] See id. at 136-37. Second, the FID continues, [



                                                     ] See id. at 137 (citing CX-2064C.10 (BK

 Lee Email Attach., 11/02/07); JX-22.64-67 (450DS-010 Batch Record); CX-10C (Pickett WS) at

 Q/As 251, 253, 257). The FID finds that [

                                                                                 ] See id.




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 The FID further notes [

          , 30

                                                       ] See id. at 138 (citing CX-1727.12

 (Daewoong U.S. Patent 9,512,418); JX-7C.6 (BLA Submission Section 3.2.S.2.6)). Third, the

 FID notes that [

                                                                                 ] See id. at 139-

 40 (citing JX-7C.6 (Daewoong FDA Submission section 3.2.S.2.6)).

          The FID finds that “Daewoong has not provided sufficient evidence demonstrating its

 own independent development of its manufacturing process.” See id. at 143. The FID also

 finds “a lack of any contemporaneous documentation of citations to the disparate published

 scientific literature dating back to as early as the 1940s on which Daewoong purportedly relied to

 piece together the steps of the manufacturing process for the DWP-450 drug substance.” See id.

 at 142. The FID further notes that [

                        ] See id. at 148 (citing JX-26C-JX-29C; CX-2598C, JX-17C). The FID

 finds that “it is not credible to reach the milestone of a commercial scale batch in such a short

 period of time.” See id. (citing CX-10C (Pickett WS) at Q/As 303-16). Rather, the FID credits

 Dr. Pickett’s testimony that “it would take at least three months for an inexperienced team

 seeking to develop a manufacturing process from scratch to review the academic literature and

 an additional 18 months to conduct small scale process research experimentation before

 proceeding to a commercial-scale batch.” See id. (citing CX-10C (Pickett WS) at Q/As 320-25).




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      [
                 ]


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        The Commission has determined to affirm the FID’s findings regarding the existence and

 misappropriation of Medytox’s trade secrets relating to its manufacturing processes.

        D.      Domestic Industry

                1.      Existence of “an Industry in the United States”

        During the investigation, Complainants asserted the existence of “an industry in the

 United States” under section 337(a)(1)(A)(i) in connection with: (1) Medytox’s MT10109L

 (which is an animal-protein-free BTX product that Medytox licensed to Allergan for

 commercialization in the United States); and (2) Allergan’s BOTOX® products (which are non-

 animal-protein free BTX products that were developed and commercialized solely by Allergan

 and are not encompassed by Medytox’s license to Allergan). The FID finds that an industry

 exists in the United States with respect to both MT10109L and BOTOX®. See FID at 158-90.

 However, the FID finds that injury or threat of injury to such industries is established with

 respect to BOTOX® but not MT10109L. No party petitioned for review of the FID’s finding of

 no injury as to MT10109L. Therefore, the Commission has determined that Complainants have

 abandoned seeking relief as to MT10109L by failing to file a petition for review of the no injury

 finding of the FID. Accordingly, on review, the Commission terminates Complainants’ claim of

 a Section 337 violation based on MT10109L and the FID’s findings on domestic industry as to

 MT10109L are therefore moot.

        As to BOTOX®, the FID finds that “[u]nder Commission precedent, a complainant may

 rely upon investments by unrelated licensees [(e.g., not related corporate entities)] to prove the

 existence of a domestic industry requirement.” See FID at 158 (citing Certain Electronic

 Imaging Devices, Inv. No. 337-TA-726, Order No. 18, 2011 WL 826919 (Feb. 7, 2011)

 (“Electronic Imaging”), unreviewed, Comm’n Notice (Mar. 8, 2011)).




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        The FID finds that Allergan has invested billions of dollars in the United States in

 domestic manufacturing, R&D, FDA clinical trials and other FDA-related activities, physician

 education, and sales and marketing activities essential for the commercialization of BOTOX®

 and the expansion of the indications for which it may be prescribed. 31, 32 See FID at 162.

 Respondents do not challenge the qualifying nature or amounts of Allergan’s domestic

 investments related to BOTOX®. 33 Rather, Respondents argue that “[t]he record evidence

 shows that Allergan’s domestic investments are insubstantial when compared to its investments

 abroad.” See Respondents’ Pet. at 87.

        The FID finds that “Allergan has made significant domestic investments in research and

 development related to BOTOX (constituting BOTOX® Cosmetic and BOTOX® therapeutic


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    The Commission notes that the FID does not consider which of these investments, such as
 those for sales and marketing, might be more akin to activities of a mere importer, and thus
 possibly meriting less or no weight in the Commission’s analysis.
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    Commissioner Schmidtlein does not join footnote 31. She observes that the “mere importer”
 test was developed to assess the existence of any cognizable domestic industry in situations
 where complainant’s domestic industry products are made overseas and imported into the United
 States. See Schaper, 717 F.2d at 1373 (“Congress did not mean to protect American importers
 (like Schaper) who cause the imported item to be produced for them abroad and engage in
 relatively small nonpromotional and non-financing activities in this country.”). That scenario,
 which gave rise to the “mere importer” test, is not present in the current investigation. For
 example, Allergan manufactures the active pharmaceutical ingredient, the most valuable part of
 BOTOX®, in the United States. In such a situation, she does not concur with the premise that
 the Commission is required to inquire whether each individual domestic activity performed by a
 complainant is that of a “mere importer.”
 33
    Respondents’ Petition for Review contains one sentence that purports to challenge the FID’s
 findings as to the nature and amount of the domestic industry investments relating to BOTOX®.
 Respondents’ Pet. at 88 (“After excising mere importer activities, such as R&D and FDA trials,
 and sales and marketing, what remains of Allergan’s proffered investments is Botox API
 manufacture at its facility [                          ].”). This single sentence in the petition
 provides no factual or legal analysis and therefore does not meet the requirements of
 Commission Rule 210.43(b)(2). 19 C.F.R. § 210.43(b)(2) (“The petition for review must set
 forth a concise statement of the facts material to the consideration of the stated issues, and must
 present a concise argument providing the reasons that review by the Commission is necessary or
 appropriate to resolve an important issue of fact, law, or policy.”).


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 collectively) and in BOTOX® Cosmetic individually.” See FID at 167-180. The FID also

 finds that Allergan’s investments in Ireland are [            ] less substantial than its investments

 in the United States. See FID at 184-85. The FID explains that “[t]he [active pharmaceutical

 ingredient (“API”)] is the most valuable and most important component to the BOTOX®

 product.” See id. at 163 (citing CX-18C at Q/A 54; CX-16C at Q/A 22). Specifically, the FID

 finds that “Dr. Neervannan estimated the value of the API constitutes at least [

                            ].” See id. (citing CX-16C at Q/A 22). The FID finds that “[o]nce

 the BOTOX® API has been manufactured [in the United States], it is delivered to Allergan’s

 ‘finish and fill’ facility in Westport, Ireland, which [



         ].” See id. (citing CX-16C at Q/A 20; CX-8C at Q/A 73; CX-18C at Q/A 53). The FID

 concludes that “[i]n view of the differing nature of the activities performed in Ireland and the

 United States, and the large differential in the investments made by Allergan in those two

 countries, . . . Allergan’s operations in Ireland do not diminish Allergan’s significant and

 substantial investments in the domestic industry.” See id. at 167; accord Complainants’ Pet.

 Resp. at 88-90; IA’s Pet. Resp. at 35-36.

         As explained above, in addressing whether an “industry in the United States” exists under

 section 337(a)(1)(A), the Commission has historically considered the “nature and significance”

 of the complainant’s activities that allegedly form the domestic industry. The Commission

 considers the Complainants’ qualifying expenditures as the initial step of the analysis. The




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 Commission finds that Complainants have qualifying expenditures in manufacturing and

 R&D. 34, 35

         Allergan’s BOTOX®-related manufacturing investments include [                  ] in

 Allergan’s [    ] facility where Allergan manufactures the API for BOTOX®. See FID at 169

 n.23. As the FID notes:

                 Because of the highly potent and potentially lethal nature of the C.
                 botulinum bacterium from which BOTOX®’s toxin is cultivated,
                 [       ] has to comply with regulations and oversight by various
                 government entities, including the Centers for Disease Control
                 (“CDC”), FDA, FBI and Department of Homeland Security. [CX-
                 16C] at Q/A 25, 26; CX-0018C at Q/A 57–59. Accordingly,
                 Allergan has to ensure that [ ] has specialized equipment,
                 operating systems, and security systems in order to comply with
                 stringent security, safety, and health regulations when
                 [                                       ], including the FDA’s Good
                 Manufacturing Processes “GMP” regulations.

 See FID at 170. Allegan’s investments in specialized equipment used [          ] for BOTOX®-

 related activities total [       ]. Id. at 169-70. Allergan employs [ ] full-time employees in

 manufacturing positions such as API manufacturing, quality control, and other technical support

 work for the manufacturing of BOTOX®. The work of these employees is exclusively with




 34
   The FID’s findings appear to consider expenditures for sales and marketing expenses in its
 analysis of domestic industry investments. See FID at 174-75. Given the magnitude of
 Allergan’s manufacturing and R&D investments discussed herein, the Commission does not
 consider these sales and marketing expenditures in its domestic industry analysis.
 35
     Commissioner Schmidtlein does not join footnote 34. She finds that sales and marketing
 investments, when combined with other qualifying domestic investments or activities, can be
 credited in determining whether a domestic industry exists. She observes that the legislative
 history indicates that marketing and sales in the United States “alone” cannot establish the
 existence of a domestic industry. H.R. Rep. No. 100-40, Pt. 1, at 157 (1987) (“Marketing and
 sales in the United States alone would not, however, be enough to meet this test.”). (emphasis
 added). Allergan does not have a sales and marketing domestic industry “alone.” Therefore,
 Commissioner Schmidtlein sees no issue with counting Allergan’s domestic sales and marketing
 investments as qualifying investments in this case.


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 BOTOX®, and their total aggregated annual compensation (including salary, bonus, and

 benefits) is [             ]. Id. at 174.

         R&D, testing, and clinical operations relating to BOTOX® products take place in other

 Allergan facilities in [                    ]. Id. at 171-72. The chart below identifies these

 facilities and shows the activities at each of these facilities:

   Facility Address                            Sq.         Principal Use
   Name                                        Footage
   [              [                            [      ]    R&D, drafting of protocols, monitoring and
              ]                                            statistical analysis, and overseeing clinical
                                 ]
                                                           trials for BOTOX®


   [          ]   [                            [      ]    R&D, and testing, including clinical studies for
                                                           additional indications for BOTOX®
                                 ]

   [          ]   [                            [      ]    Toxin research relating to BOTOX®,
                                                           development, and testing
                                 ]
   [      ]       [                            [      ]    Clinical operations and quality control testing.
                                     ]                     [




                                                                                                 ].



 FID at 171. Allergan has invested [                 ] in R&D in the United States from 1992 through

 Q1 2019. Id. at 179. This includes R&D related to improving Allergan’s manufacturing

 process, expanding the number of cosmetic and therapeutic indications approved by the FDA,

 and complying with FDA regulatory requirements, including clinical testing required by the

 FDA. Id. Allergan employs [ ] full-time employees in research and development and their

 total annual aggregated compensation is [                ]. Id. at 174. These figures do not take into


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 account the additional the number of R&D personnel who recorded a portion of their time to

 BOTOX®-related R&D projects: [           ] employees in 2014, [     ] employees in 2015, [    ]

 employees in 2016, [    ] employees in 2017, and [      ] employees in 2018. Id. at 175.

 Accordingly, the Commission supplements the FID with respect to Complainants’ qualifying

 expenditures in manufacturing and R&D relating to BOTOX® products.

        In considering the significance of the Complainants’ domestic investments, a comparison

 of domestic investments to foreign investments is one appropriate mode of contextual analysis,

 but not the only permissible one. 36 For example, in Certain Carburetors & Prods. Containing

 Such Carburetors, Inv. No. 337-TA-1123, Comm’n Op., 2019 WL 5622443 (Oct. 28, 2019)

 (“Carburetors”), which was a patent case examining domestic industry under section 337(a)(3),

 the Commission held that “comparing complainant’s domestic expenditures to its foreign

 expenditures is one of the possible factors that the Commission could but . . . is not required to

 consider.” Carburetors, 2019 WL 5622443, at *6 (emphasis added). The Commission has in

 addition, or alternatively, “considered, among other things, the value added to the article in the

 United States by the domestic activities. Id. at *13; see also Schaper, 717 F.2d at 1373 (“There




 36
   As discussed above at page 15, the Commission’s “nature and significance” standard
 developed in its case law, and affirmed by the Federal Circuit, continues to be applied
 subsequent to the legislative amendments in 1988 to trade secret misappropriation and other
 unfair acts claims arising under Section 337(a)(1)(A)(i).


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 is simply not enough significant value added domestically to the toy vehicles by [the

 complainant’s] activities in this country . . . .”). 37




 37
     Commissioner Schmidtlein agrees that there is no requirement that a complainant must
 establish its domestic investments are significant relative to its foreign investments. She also
 observes that the threshold question of the existence of an “industry in the United States” under
 section 337(a)(1)(A) does not even require a complainant to show its domestic investments are
 significant or substantial. Rather, it calls for an inquiry into the “nature and extent” of
 complainant’s investments or activities in the United States. See Schaper, 717 F.2d at 1372
 (explaining that the “nature and the extent of Schaper’s domestic activities” were insufficient to
 constitute an “industry in the United States”). This standard has also been expressed in
 Commission opinions as considering the “nature and significance” of the complainant’s domestic
 activities. See supra.

 In Commissioner Schmidtlein’s view, considering the nature and extent of a complainant’s
 domestic activities fundamentally differs from requiring a complainant to show its domestic
 activities are significant or substantial. Congress expressly chose to define domestic industries
 for statutory IP cases (e.g., patent, registered trademark, and copyright) by requiring that there be
 certain prescribed activities in the United States that are either “significant” or “substantial.”
 See 19 U.S.C. § 1337(a)(3)(A)-(C) (“significant investment in plant and equipment,” “significant
 employment of labor or capital,” or “substantial investment” in the exploitation of the IP right).
 Congress did not use this language to define the domestic industry requirement for general unfair
 trade practices under section 337(a)(1)(A). See 19 U.S.C. § 1337(a)(1)(A). This textual
 distinction is strong evidence that Congress did not intend to limit the definition of “an industry
 in the United States” under section 337(a)(1)(A)(i) in the same way as it did in section 337(a)(3).
 In fact, the Commission in Certain Hand Dryers held that “an industry in the United States”
 under section 337(a)(1)(A)(i) “is not limited to the domestic industry definition for statutory IP
 rights under” section 337(a)(3). Certain Hand Dryers and Housing for Hand Dryers, Inv. No.
 337-TA-1015, Comm’n Op. at 4 (Oct. 30, 2017) (citing Tianrui Group Co. Ltd. v. Int’l Trade
 Comm ’n, 661 F.3d 1322, 1335-37 (Fed. Cir. 2011)). For these reasons, Commissioner
 Schmidtlein does not hold the view that domestic activities asserted to show an “industry in the
 United States” under section 337(a)(1)(A)(i) need to be “significant” or “substantial.”
 Similarly, Commissioner Schmidtlein does not hold the view that caselaw interpreting the
 meaning of “significant” or “substantial” under section 337(a)(3) necessarily constrains or limits
 the bounds of what an “industry in the United States” is under section 337(a)(1)(A)(i). Rather,
 she believes that the threshold under section 337(a)(1)(A)(i) simply calls for an inquiry into the
 “nature and extent” of complainant’s business activities in the United States, see Schaper, 717
 F.2d at 1372, and that this threshold may be satisfied even if the investments or activities may
 not qualify as significant or substantial under a section 337(a)(3) standard.



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         The Commission agrees with the FID that, based on the record evidence that the API

 constitutes at least [      ] of the overall value of BOTOX® and that Allergan manufactures

 the API in the United States, Allergan’s expenditures are significant. 38 This conclusion is

 further supported by the fact that from 2014 to 2018, [         ] of Allergan’s R&D investments

 related to BOTOX® were in the United States (the U.S. share was [              ] out of a

 worldwide total of [           ]). 39, 40 FID at 179.




 38
    Commissioner Schmidtlein finds that the billions of dollars identified by the FID as invested
 by Allergan in the United States related to BOTOX® for manufacturing, R&D, FDA clinical
 trials and other FDA-related activities, physician education, and sales and marketing activities
 are sufficient to establish the existence of “an industry in the United States.” See FID at 162-
 180. She declines to join the majority in comparing domestic investments to foreign
 expenditures in making the determination that the domestic investments are sufficient to
 establish the existence of “an industry in the United States.”
 39
    These R&D investments include expenses related to clinical operations and quality control
 testing; [
                                                                ]; R&D and testing including
 clinical studies for additional indications for BOTOX®; R&D, drafting of protocols, monitoring
 and statistical analyses and overseeing clinical trials for BOTOX®; and toxin research relating to
 BOTOX®, development and testing. FID at 171. These activities are not the sort of activities
 that a “mere importer” would conduct in the United States, and Respondents did not argue
 otherwise in their petition for review.
 Chair Kearns notes that Complainants and Respondents agree that there was no requirement that
 Allergan’s activities relating to regulatory approvals and compliance take place in the United
 States. See Complainants’ Resp. Br. at 28-29; Respondents’ Resp. Br. at 13. In his view, the
 fact that there was no such requirement, and that Allergan chose to conduct them in the United
 States rather than abroad, supports the conclusion that these are not the activities of a “mere
 importer.”
 40
     Commissioner Schmidtlein does not join footnote 39. While she agrees that the itemized
 activities identified in that footnote should be included in assessing the existence of a domestic
 industry, as explained above in footnote 32 she does not agree with the premise that the
 Commission needs to examine whether each domestic activity performed by Allergan is akin to
 the sort of activity a “mere importer” would conduct. Further, she would not agree with the
 premise that in determining whether domestic activities may be counted, the Commission must
 first determine whether the activities must be performed in the United States.



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        Respondents also argue that the FID “erred by considering Allergan’s alleged domestic

 industry in Botox” because “Allergan does not have standing under settled Commission and

 Article III precedent.” See Respondents’ Pet. at 87. As discussed supra section III(B),

 however, the Commission finds that Allergan has standing to join this investigation and, as such,

 the Commission finds that Complainants can rely on Allergan’s investments to satisfy the

 domestic industry requirement. See FID at 37-38; accord IA’s Pet. Resp. at 33. Regardless of

 Respondents’ standing objection, Medytox is permitted to rely on the investments of non-

 exclusive licensees to satisfy the domestic industry requirement. Cf. Electronic Imaging, 2011

 WL 826919, at *3.

        While a patentee must establish, under section 337(a)(2), that the domestic industry of its

 licensees relates to articles that are protected by the patent, there is no such requirement for trade

 secret misappropriation claims under section 337(a)(1)(A). Indeed, unlike the requirement that

 a domestic industry practice or exploit statutory IP rights under Section 337(a)(2)-(3), TianRui

 makes clear that section 337(a)(1)(A) does not require that the domestic industry products

 practice the asserted trade secrets. See TianRui, 661 F.3d at 1335-37. Rather, the Court

 explained that where the unfair imports “directly compete” with the domestically-produced

 products, such competition is “sufficiently related to the investigation to constitute an injury to

 an ‘industry’ within the meaning of section 337(a)(1)(A).” Id. at 1337.

        Contrary to Respondents’ suggestion, there is no basis for interpreting section

 337(a)(1)(A) or TianRui as imposing a requirement that Allergan’s BOTOX® practice the trade

 secret (or be licensed to do so). The language of section 337(a)(1)(A) is broad and allows the

 Commission to find a violation in connection with, inter alia, “unfair acts in the importation of




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 articles” the “threat or effect of which is—(i) to destroy or substantially injure an industry in the

 United States.” 19 USC § 1337(a)(1)(A) (emphasis added).

         In 1988, when Congress added the requirement for statutory intellectual property rights

 that the industry be “with respect to the articles protected by the patent, copyright,” and other

 statutory IP rights, Congress specifically did not extend that requirement to non-statutory unfair

 acts under section 337(a)(1)(A). Indeed, section 337(a)(1)(A) can cover “dumping or

 countervailing duties, or even unfair trade practices such as false advertising or other business

 torts”—none of which involve proprietary rights. 41 H.R. REP. NO. 100-40 Part I, at 156 (1987).

 Instead, the statute requires only that the unfair act cause substantial injury, or the threat of

 injury, to a domestic industry. See 19 U.S.C. § 1337(a)(1)(A)(i).

         TianRui also distinguished unfair acts based on statutory IP rights (i.e., under section

 337(a)(1)(B)-(E)) and expressly rejected a requirement that “an industry in the United States”

 practice the asserted non-statutory IP under section 337(a)(1)(A). See TianRui, 661 F.3d at

 1335-37. What matters here is that one complainant (Medytox) asserts that its trade secrets

 have been misappropriated by Respondents and another complainant (Allergan), who is a non-

 exclusive licensee of Medytox, asserts that the importation and sale of Daewoong’s products that




 41
    Under section 337(b)(3), “[i]f the Commission has reason to believe that the matter before it
 (A) is based solely on alleged acts and effects which are within the purview of section 1671
 [(Countervailing duties imposed)] or 1673 [(Antidumping duties imposed)] of this title, or (B)
 relates to an alleged copyright infringement with respect to which action is prohibited by section
 1008 of title 17, the Commission shall terminate, or not institute, any investigation into the
 matter.” 19 C.F.R. § 1337(b)(3). In addition, “[i]f the Commission has reason to believe the
 matter before it is based in part on alleged acts and effects which are within the purview of
 section 1671 or 1673 of this title, and in part on alleged acts and effects which may,
 independently from or in conjunction with those within the purview of such section, establish a
 basis for relief under this section, then it may institute or continue an investigation into the
 matter.” Id.


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 use misappropriated trade secrets has caused injury to its competing industry in the United

 States.

           Respondents argue that the FID erred by failing to “consider fully the only investigation

 with facts even remotely similar to those presented here” citing the ID in the consolidated

 Sausage Casings investigation, Inv. No. 337-TA-148/169. Respondents’ Pet. at 44.

 Respondents argue that the trade secret owner Union Carbide sought to establish a domestic

 industry based in part of the operations of its licensee Teepak, but the ALJ rejected the licensee’s

 investments where “nothing on the record [] indicate[s] that any other domestic company is

 making use of the trade secrets at issue.” Id. at 44-45 (citing Sausage Casings, Inv. No. 337-

 TA-148/169, 1984 WL 273789, at *133). Read carefully, however, the ID cites Schaper Mfg.

 Co. v. USITC, 717 F.2d 1368, 1371 (Fed. Cir. 1983), for this proposition, which in turn cites to

 patent-related provisions, including two patent decisions, then-Commission Rule 210.20 (now

 codified as 19 C.F.R. § 210.12), and the 1974 legislative history. The cited legislative history

 states that “[i]n cases involving the claims of U.S. patents, the patent must be exploited by

 production in the United States, and the industry in the United States generally consists of the

 domestic operations of the patent owner, his assignees and licensees devoted to such exploitation

 of the patent.” H.R. REP. NO. 93-571, at 78 (1973). The Commission’s rule at the time (as

 now) required the complaint to plead the domestic industry practicing the patent and was not a

 pleading requirement for non-patent cases. The cases cited in Schaper also involve patents.

 Thus, the ID’s statement in Sausage Casings improperly extended the definition of domestic

 industry in patent cases to other unfair act claims in section 337 practice generally. Moreover,

 to the extent that Sausage Casings restricted the domestic industry in a trade secret




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 misappropriation claim to the domestic operations that exploit the asserted trade secret, it has

 been overruled by TianRui, which held to the contrary.

        Thus, the Commission agrees with the FID’s conclusion that there is “an industry in the

 United States” with respect to BOTOX®, with the modified analysis above. In particular, the

 Commission finds that Allergan’s expenditures are significant based on the API’s contribution to

 the overall value of BOTOX® and the share of overall R&D performed in the United States.

 The facts that Allergan is a non-exclusive licensee and that it does not practice the trade secrets

 found to be protectable does not change our findings. As discussed above, consistent with

 Federal Circuit precedent, an industry in the United States may be found to exist based on

 qualifying investments in domestic products that “directly compete” with the accused products–

 in this instance BOTOX®. See TianRui, 661 F.3d at 1337.

                2.      Injury to the “Industry in the United States”

         Having found that a domestic industry exists, under section 337(a)(1)(A)(i), “the

 complainant [must also] demonstrate . . . that there [is] actual substantial injury or the threat of

 substantial injury to a domestic industry.” See Rubber Resins, Comm’n Op., 2014 WL

 7497801, *5. In addition, “[w]hen the complainant alleges actual injury, there must be a causal

 nexus between the unfair acts of the respondents and the injury.” Id. at *30. Similarly, when

 the complainant alleges a threatened injury, such “injury must [] be ‘substantive and clearly

 foreseen,’ with a causal connection between the action of the respondents and the threatened

 injury.” Id. at *32 (citations omitted).

        As discussed above, the FID finds no injury or threat of injury to an industry concerning

 MT10109L, and no party petitioned for review of that finding. See FID at 220-25. The

 Commission, therefore, has determined that the Complainants have abandoned seeking relief as




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 to MT10109L by failing to file a petition for review of that no injury finding of the FID.

 Accordingly, on review, the Commission terminates Complainants’ claim of a Section 337

 violation based on MT10109L and the FID’s findings on domestic industry as to MT10109L are

 therefore moot.

          As to BOTOX®, the FID finds that Complainants have lost sales and profits and “have

 suffered an actual injury to the BOTOX® domestic industry.” See id. at 198. For example, the

 FID explains, the evidence demonstrates that the 2.61 percent market share for Respondents’

 Jeuveau® product “came entirely at the expense of BOTOX® Cosmetic.” See id. (citing CX-

 18C at Q/As 112-17; CX-2433C). The FID also finds evidence of price erosion, explaining that

 “Allergan’s internal models indicate [

                         ].” See id. at 208 (citing CX-18C (Malackowski 42 WS) at Q/A 181).

 The FID further finds a threat of future injury to BOTOX®. See id. at 211-220. Specifically,

 the FID finds that: (1) “Daewoong has more than sufficient foreign manufacturing capacity to

 supply the domestic demand for Jeuveau® (and indeed the entire U.S. BTX cosmetic market)”;

 (2) “Evolus has already entered the market with Jeuveau® with the specific intent of targeting

 Allergan”; (3) “[R]espondents have the ability to undersell BOTOX®”; and (4) “Allergan also

 faces potential long-term price erosion due to Jeuveau®.” See id. The Commission affirms

 these findings that Respondents’ importation and sale have caused and threaten to cause

 substantial injury to the domestic industry found to exist.

          Respondents repeat their argument that “any purported injury to Botox is not cognizable

 in this investigation” because Allergan lacks standing. See Respondents’ Pet. at 88. As




 42
      James E. Malackowski was retained by Complainants as a domestic industry expert.


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 discussed supra section III(B), the Commission disagrees that Allergan lacks standing and

 therefore the premise of Respondents’ argument fails.

        Respondents also argue that the FID fails to find a causal nexus between Respondents’

 unfair acts and any injury to the domestic industry. See id. at 93. Respondents’ assertions are

 unsupported. In the context of the existence of a domestic industry, the FID finds that “it was

 appropriate to consider an industry in domestically produced products that ‘directly compete’

 with the imported products.” See FID at 158 (citing TianRui, 661 F.3d at 1337; Rubber Resins,

 ID at 648-51, 2013 WL 4495127, at *239). In the present case, there is ample evidence of a

 causal relationship or nexus between Respondents’ unfair acts and the injury to the domestic

 industry. Respondents’ accused product, which exists solely due to Respondents’

 misappropriation of Medytox’s trade secrets, competes directly with BOTOX®, and the court in

 TianRui agreed that such direct “type of competition, is sufficiently related to the investigation to

 constitute an injury to an ‘industry’ within the meaning of section 337(a)(1)(A).” See TianRui,

 661 F.3d at 1337. Respondents’ importation and sales have captured 2.61% of U.S. market

 share entirely at the expense of Allergan’s BOTOX® Cosmetic. See FID at 198. Each

 percentage point of lost market share represents more than [         ] in lost profit per year for

 Allergan. Id. The FID thus finds that Respondents’ unfair imports have caused over [

        ] in annualized lost profits for Allergan. Id. at 198-99. The evidence shows that

 Respondent’s market share gains are projected to continue to [          ] market share directly at

 the expense of BOTOX® Cosmetic representing an annual loss of more than [                   ] in

 profit. Id. at 200-01.

        Moreover, the FID found that Respondents’ aggressive pricing has adversely impacted

 Allegan’s prices. The FID found that Evolus aggressively prices Jeuveau® to physicians at a [




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                                                                          ] such that [



                                                             ]. Id. at 205. While Evolus has

 flexibility in pricing Jeuveau®. Allergan is constrained in its ability to discount BOTOX®

 products due to the Centers for Medicare & Medicaid Services’ (“CMS”) regulations. Id. at

 206. Thus, the FID found that Evolus’s aggressive pricing of Jeuveau® will erode Allergan’s

 profitability for both BOTOX® Cosmetic and BOTOX® therapeutic. “Inasmuch as Evolus [




                                               ].” FID at 208. These findings amply support the

 FID’s conclusion that Respondents’ unfair imports have cause substantial injury to the domestic

 industry.

        Similarly, the FID’s findings as to the threat of future injury are well-supported. The

 evidence shows that Daewoong has more than sufficient foreign manufacturing capacity to

 supply the domestic demand for Jeuveau® (and the entire U.S. BTX cosmetic market) and that it

 has targeted Allergan’s sales specifically.   See FID at 211, 214. Moreover, the evidence

 shows Respondents are able to undersell, and will continue to be able to undersell, BOTOX®

 products and that Allergan will face long-term price erosion as a result, affecting both BOTOX®

 Cosmetic and BOTOX® therapeutic. Id. at 214-15, 220. Evolus’ market share projections

 show that Respondents are confident that they can attain “the number two U.S. market position

 within 24 months of launch,” which “will result in over [          ] in yearly lost profits to

 Allergan.” Id. at 219-20. These findings provide a clear assessment of the market in the




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 presence of the Respondents’ imports demonstrating “relevant conditions or circumstances from

 which probable future injury can be inferred.” Railway Wheels, Unreviewed ID at 81–82.

        Respondents further argue that the FID “neglected to consider the entire picture, ignoring

 the rising sales and profits of Botox, and erring in concluding how much market share Jeuveau

 took, or threatens to take, from Botox Cosmetic.” See Respondents’ Pet. at 90. Respondents

 essentially argue that injury or threat thereof can never be proven where complainants’ sales or

 profits have increased. Not only is Respondents’ theory legally unfounded, but also it fails to

 account for the FID’s finding, supported by record evidence, that Respondents’ unfair imports,

 that have benefitted from stolen trade secrets, have driven down prices for Allergan’s BOTOX®

 Cosmetic BOTOX® products, captured market share directly at the expense of Allergan, have

 caused Allergan to lose over [          ] in annualized lost profits and threaten future annual

 losses of more than [            ] in profit, and threaten long-term price erosion.

        Respondents contend that “[e]ven assuming Allergan is correct that Jeuveau will cut into

 Botox’s market share and sales, that is not enough to establish injury to domestic investments,

 which is the operative test at the ITC.” See id. at 89. Contrary to Respondents’ contention, the

 evidence of record discussed above as to lost market share, lost profits, and underselling amply

 support the inference that Allergan’s domestic investments in manufacturing and R&D have

 been, and its ongoing production and R&D efforts have been and will continue to be, adversely

 impacted by Respondents’ unfair imports.

        Respondents further argue the FID incorrectly finds “actual substantial injury to Botox

 Therapeutic” where “Jeuveau is only approved for cosmetic indications.” See id. at 92. The

 Commission agrees with the FID that the relationship in pricing between BOTOX® Cosmetic

 and BOTOX® therapeutic results in Jeuveau® causing injury to BOTOX® therapeutic. See




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 FID at 206-07. Respondents have shown no error in the FID’s findings as to this pricing

 relationship.

        As discussed above, the FID correctly finds actual and threatened injury to the industry

 related to BOTOX®. As noted by Complainants, “Commission precedent confirms that

 financial harms, such as lost sales and price erosion, are indeed sufficient to support a finding of

 actual substantial injury.” See Complainants’ Pet. Resp. at 92-93 (citing Rubber Resins,

 Comm’n Op. at 63, 2014 WL 7497801, at *32; Certain Light-Emitting Diode Prods., Inv. No.

 337-TA-947, Initial Determination at 482-83 (July 29, 2016)); accord IA’s Pet. Resp. at 37-38.

        Thus, the Commission has determined to affirm the FID’s finding of injury with respect

 to the domestic industry related to BOTOX®. In particular, the Commission finds that there is a

 causal nexus between the unfair act asserted (i.e., importation of articles that impinge upon the

 asserted trade secrets) and injury and threat of injury to the domestic industry as found in the

 FID.

        For the foregoing reasons, the Commission finds a violation of section 337 with respect

 to the importation and sale of Respondents’ botulinum neurotoxin products.

 IV.    REMEDY, PUBLIC INTEREST, AND BONDING

        The RD recommends that the Commission issue an LEO barring entry of botulinum

 neurotoxin products that are imported or sold by Respondents Daewoong and Evolus and a CDO

 against Evolus.   The RD also recommends that the Commission set a bond based on price

 differential during the period of Presidential review.

        As discussed below, the Commission has determined to adopt the RD with respect to

 remedy and bonding except that the Commission limits the duration of the LEO and CDO to 21

 months and sets the bond during the period of Presidential review in an amount of $441 per




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 100U vial (based on price differential).     The Commission further finds that the public interest

 will not be adversely affected by the issuance of the remedial orders.

        A.      Remedy

        The Commission has “broad discretion in selecting the form, scope, and extent of the

 remedy.” Viscofan, S.A. v. USITC, 787 F.2d 544, 548 (Fed. Cir. 1986).

                1.      Limited Exclusion Order

        Section 337 requires the Commission to issue LEOs against named respondents that have

 imported or sold unfairly traded articles:

                If the Commission determines, as a result of an investigation under
                this section, that there is a violation of this section, it shall direct that
                the articles concerned, imported by any person violating the
                provision of this section, be excluded from entry into the United
                States . . . .

 See 19 U.S.C. § 1337(d)(l).     See also Spansion, Inc. v. ITC, 629 F.3d 1331, 1358 (Fed. Cir. 2010)

 (“[T]he Commission is required to issue an exclusion order upon the finding of a Section 337

 violation absent a finding that the effects of one of the statutorily-enumerated public interest

 factors counsel otherwise.”).

        The RD recommends that the Commission issue an LEO excluding botulinum neurotoxin

 products that are imported or sold by Respondents Daewoong and Evolus. See RD at 257-58.

 The RD further states that “[t]he duration of an order in a trade secret misappropriation case is

 set as the time it would have taken to independently develop the trade secrets.” See id. at 257

 (citing Rubber Resins, Comm’n Op., 2014 WL 7497801, at *43). The RD recommends that the

 LEO have a ten-year duration if the Commission finds both Medytox’s strain and Medytox’s

 manufacturing process to be trade secrets. See RD at 257-58.

        The RD further states that “[i]f the misappropriation of the Medytox manufacturing

 process is considered independently, . . . the duration of the [LEO] . . . should be for a period of


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 at least 21 months from the time of issuance of the exclusion order.” See id. (citing CX-18C

 (Malackowski WS) at Q/A 205; CX-10C (Pickett WS) at Q/A 320-25); accord Complainants’

 Resp. Br. at 53; IA’s Resp. Br. at 23.

        Because the Commission finds that Complainants failed to establish that Medytox’s

 strain is a trade secret, the Commission finds that the record supports issuing an LEO for a

 duration of 21 months as recommended in the RD. See RD at 258 (citing CX-18C

 (Malackowski WS) at Q/A 205; CX-10C (Pickett WS) at Q/A 320-25); accord Complainants’

 Resp. Br. at 53; IA’s Resp. Br. at 23.

        Accordingly, the Commission has determined to issue an LEO with a 21-month duration.

 The Commission declines to limit the LEO to aesthetic applications. Both aesthetic and

 therapeutic versions of BOTOX® have been considered in the domestic industry analysis and

 while Respondents’ products may be currently sold for aesthetic applications only, the scope of

 the investigation (botulinum neurotoxin products) is not so limited. See 84 Fed. Reg. at 8112.

        Furthermore, under the specific facts of this case involving trade secret misappropriation,

 and where it is not readily apparent by inspection at the border whether an imported product is

 manufactured using the misappropriated trade secrets, the Commission has determined to require

 Respondents to obtain a ruling (via an advisory opinion or a modification proceeding) from the

 Commission prior to the importation of any accused products. See Canadian Tarpoly Co. v.

 USITC, 640 F.2d 1322, 1326 (C.C.P.A. 1981) (affirming the Commission’s authority to require

 an advisory opinion); see also 19 C.F.R. § 210.79 (advisory opinions); 19 C.F.R. § 210.76

 (modification proceedings).

        Thus, the Commission has determined to: (1) issue an LEO covering certain botulinum

 toxin products that are imported or sold in the United States by Respondents Daewoong and




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 Evolus; and (2) require Respondents to obtain a ruling from the Commission under Commission

 Rules 210.76 or 210.79 (19 C.F.R. §§ 210.76, 210.79) prior to the importation of any articles at

 issue.

                 2.      Cease and Desist Order

          Section 337(f)(1) provides that in addition to, or in lieu of, the issuance of an exclusion

 order, the Commission may issue a CDO as a remedy for violation of section 337.          See 19

 U.S.C. § 1337(f)(1).    CDOs are generally issued when, with respect to the imported infringing

 products, respondents maintain commercially significant inventories in the United States or have

 significant domestic operations that could undercut the remedy provided by an exclusion order. 43

 See, e.g., Certain Table Saws Incorporating Active Injury Mitigation Technology & Components

 Thereof (“Table Saws”), Inv. No. 337-TA-965, Comm’n Op. at 4-6 (Feb. 1, 2017); Certain

 Protective Cases & Components Thereof, Inv. No. 337-TA-780, USITC Pub. No. 4405, Comm’n

 Op. at 28 (Nov. 19, 2012) (citing Certain Laser Bar Code Scanners & Scan Engines,

 Components Thereof & Prods. Containing Same, Inv. No. 337-TA-551, Comm’n Op. at 22 (June

 24, 2007)).    Complainants bear the burden on this issue.     “A complainant seeking a cease and

 desist order must demonstrate, based on the record, that this remedy is necessary to address the

 violation found in the investigation so as to not undercut the relief provided by the exclusion

 order.” Table Saws, Comm’n Op. at 5 (citing Certain Integrated Repeaters, Switches,


 43
    When the presence of infringing domestic inventory or domestic operations is asserted as the
 basis for a CDO under section 337(f)(1), Commissioner Schmidtlein does not adopt the view that
 the inventory or domestic operations needs to be “commercially significant” in order to issue the
 CDO. See, e.g., Certain Magnetic Tape Cartridges and Components Thereof, Inv. No. 337-TA-
 1058, Comm’n Op. at 65, n.24 (Mar. 25, 2019); Table Saws, Comm’n Op. at 6-7, n.2 (Feb. 1,
 2017). In Commissioner Schmidtlein’s view, the presence of some infringing domestic inventory
 or domestic operations, regardless of its commercial significance, provides a basis to issue a CDO.
 Id. Commissioner Schmidtlein supports issuance of the CDO against Evolus due to its
 maintenance of domestic inventory of Jeuveau.


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 Transceivers, & Prods. Containing Same, Inv. No. 337-TA-435, USITC Pub. No. 3547 (Oct.

 2002), Comm’n Op. at 27 (Aug. 16, 2002); see also H.R. REP. No. 100-40, at 160 (1987)).

        The RD recommends that the Commission issue a CDO against Evolus. See RD at 264.

 The RD finds that “Evolus, as of year-end 2019, maintained a domestic inventory of [        ] vials

 of 100U of Jeuveau® having an imported value of [             ].” See id. (citing JX-139C

 (Stipulation of Material Facts Relating to Importation and Inventory) at ¶ 6). The RD concludes

 that Evolus maintains “a commercially significant domestic inventory.” See id. As to

 Daewoong, however, the RD finds that “[C]omplainants did not provide admissible evidence of

 the existence of a domestic inventory of any accused product held by Daewoong or its agents.”

 See id. Complainants no longer appear to seek a CDO against Daewoong. See Complainants’

 Br. at 49; accord IA’s Resp. Br. at 25-26.

        Respondents argue that “the value of the domestic inventory of Jeuveau®, discounting

 sales of Xeomin and Dysport, comprises at most [       ] of the value of the domestic market for

 cosmetic neurotoxin products.” See Respondents’ Br. at 43. Respondents, however, do not

 provide any evidence to contradict Complainants’ assertion that the inventory is commercially

 significant relative to Jeuveau®’s market share. See Complainants’ Reply Br. at 26 (“Evolus’s

 inventory is commercially significant in the context of its imports and sales over time.”) (citing

 CX-18C (Malackowski WS) at Q/As 208-11).

        Thus, the Commission finds that a CDO is warranted as to Evolus. As noted,

 Complainants are no longer seeking a CDO with respect to Daewoong. Accordingly, the

 Commission has determined to issue a CDO against Evolus with the same 21-month duration as

 the LEO discussed supra section IV(A)(1).




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        B.      The Public Interest

        Section 337 requires the Commission, upon finding a violation of section 337, to issue an

 LEO “unless, after considering the effect of such exclusion upon the public health and welfare,

 competitive conditions in the United States economy, the production of like or directly

 competitive articles in the United States, and United States consumers, it finds that such articles

 should not be excluded from entry.” 19 U.S.C. § 1337(d)(l). Similarly, the Commission must

 consider these public interest factors before issuing a CDO. 19 U.S.C. § 1337(f)(1).

        Under appropriate facts and circumstances, the Commission may determine that no

 remedy should issue because of the adverse impacts on the public interest. See, e.g., Certain

 Fluidized Supporting Apparatus & Components Thereof, Inv. Nos. 337-TA-182/188, USITC

 Pub. 1667, Comm’n Op. at 1–2, 23–25 (Oct. 1984) (finding that the public interest warranted

 denying complainant’s requested relief). Moreover, when the circumstances of a particular

 investigation require, the Commission has tailored its relief in light of the statutory public

 interest factors. For example, the Commission has allowed continued importation for ongoing

 medical research, exempted service parts, grandfathered certain infringing products, and delayed

 the imposition of remedies to allow affected third party consumers to transition to non-infringing

 products. E.g., Certain Microfluidic Devices, Inv. No. 337-TA-1068 Comm’n Op. at 1, 22–48,

 53–54 (analyzing the public interest, discussing applicable precedent, and ultimately issuing a

 tailored LEO and a tailored CDO); Certain Road Milling Machines & Components Thereof, Inv.

 No. 337-TA-1067, Comm’n Op. at 32–33 (July 18, 2019) (exempting service parts); Certain

 Baseband Processor Chips & Chipsets, Transmitter, & Receiver (Radio) Chips, Power Control

 Chips, & Prods. Containing Same, Including Cellular Tel. Handsets, 337-TA-543, USITC Pub.

 No. 4258, Comm’n Op. at 150–51 (Oct. 2011) (grandfathering certain products); Certain




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 Personal Data & Mobile Comm’n Devices & Related Software, 337-TA-710, USITC Pub. No.

 4331, Comm’n Op., at 72–73, 80–81 (June 2012) (delaying imposition of remedy).

        The statute requires the Commission to consider and make findings on the public interest

 in every case in which a violation is found regardless of the quality or quantity of public interest

 information supplied by the parties. 19 U.S.C. § 1337(d)(l), (f)(l).   Thus, the Commission

 publishes a notice inviting the parties as well as interested members of the public and interested

 government agencies to gather and present evidence on the public interest at multiple junctures

 in the proceeding.    19 U.S.C. § 1337(d)(l) & (f)(l).

        With respect to the first public interest factor (public health and welfare), the

 Commission finds that excluding the accused products would not adversely affect the public

 health and welfare.    Respondents assert that an exclusion order would threaten the development

 of new treatments, to the detriment of public health. See Respondents’ Resp. Br. at 56.

 Respondents contend that “Daewoong and its commercial collaborator Aeon Biopharma, Inc.,

 are currently working to bring new treatments for [                                               ]

 to market based upon Daewoong’s botulinum products.” See id.; see also AEON Biopharma,

 Inc.’s Public Interest Submission at 4 (Oct. 9, 2020) (“AEON PI Br.”).

        As Complainants explain, however, the clinical trials have yet to begin [

        ] and AEON admits that substitution is possible (even if it involves more time and cost).

 See Complainants’ Reply Br. at 25; AEON PI Br. at 2; see also IA’s Resp. Br. at 31.        AEON

 also admits that BOTOX® shares the same 900 kDa molecular weight as ABP-450 and

 “potentially exhibits clinically similar behavior and effect upon injection.”   See AEON PI Br. at

 5.   Furthermore, as noted by Complainants, “[t]o the extent Daewoong and Aeon Biopharma

 are working to bring a BTX product to the market for any new treatments, there is no




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 requirement that any aspect of drug development, testing, or clinical trials take place in the

 United States.” See Complainants’ Reply Br. at 29.

         Nor does the record evidence suggest any adverse effect on the second (competitive

 conditions in the U.S. economy), third (production of like or directly competitive articles), and

 fourth (United States consumers) public interest factors.     Respondents allege that an exclusion

 order would harm U.S. consumers and competitive conditions in the U.S. economy by

 eliminating a needed constraint on the BOTOX® monopoly.            See Respondents’ Resp. Br. at 48-

 52.   Respondents assert that “as of early 2019, [] Botox held 70% of the U.S. cosmetic market”

 and “[i]n the therapeutic market, Botox’s share is even higher: more than 90%.” See id. (citing

 Compl. ¶ 4; RX-1632.3-4).      Respondents further contend that Allergan entered into a

 distribution agreement with Medytox to prevent Medytox from entering the U.S. market.                See

 id. at 54-55.   Respondents argue that excluding other competitors would extend Allergan’s

 monopoly and would be against the public interest.       See id. at 55.

         As Complainants argue, however, “there are other companies that market BTX products

 for treating adult glabellar lines (among other indications), including Dysport . . . and Xeomin.”

 See Complainants’ Resp. Br. at 57; see also IA’s Resp. Br. at 32; Merz North America, Inc.’s

 Statement on the Public Interest (Aug. 18, 2020).       In addition, Complainants continue,

 “Allergan alone could meet the US demand for all BTX products needed for treating adult

 glabellar lines (the only use for which Jeuveau is approved by the FDA).”        See Complainants’

 Resp. Br. at 57.   Complainants conclude that with “with at least three sources of FDA-approved

 BTX products, . . . there will be no shortfall in supply . . . , [and] there are no public health,

 safety, or welfare considerations that caution against issuance of the recommended remedial

 orders.” See id. at 57-58.




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        Complainants further explain that [



                                                    ] See id. at 59.    According to Complainants,

 [

                                                                                         ] See id.

 (citing Hr’g Tr. (Moatazedi) at 913-14); see also Complainants’ Reply Br. at 27-28.

 Furthermore, as Complainants note, even if “some retailers and consumers may have to pay a

 higher price,” it “does not justify a determination that the public interest in protecting intellectual

 property rights is in any way outweighed.” See id. at 28 (citing Certain Lens-Fitted Film

 Packages, Inv. No. 337-TA-406, Comm’n Op. at 18, 1999 WL 436531, at *13 (Jun. 28, 1999)).

        Based on the record evidence, the Commission finds that the remedial orders would cause

 little to no harm to the public health and welfare, the competitive conditions in the United States

 economy, the production of like or directly competitive products in the United States, and United

 States consumers.    Thus, the Commission has determined that the public interest factors do not

 preclude the issuance of remedial orders in this investigation.

        C.      Bonding

        If the Commission enters an exclusion order or a cease and desist order, a respondent

 may continue to import and sell its products during the 60-day period of Presidential review

 under a bond in an amount determined by the Commission to be “sufficient to protect the

 complainant from any injury.” 19 U.S.C. § 1337(j)(3); see also 19 C.F.R. § 210.50(a)(3).

 When reliable price information is available in the record, the Commission has often set the bond

 in an amount that would eliminate the price differential between the domestic product and the

 imported, infringing product. See Certain Microsphere Adhesives, Processes for Making Same,




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 & Prods. Containing Same, Including Self-stick Repositionable Notes, Inv. No. 337-TA-366,

 USITC Pub. No. 2949, Comm’n Op. at 24 (Jan. 16, 1996). The Commission also has used a

 reasonable royalty rate to set the bond amount where a reasonable royalty rate could be

 ascertained from the evidence in the record. See, e.g., Certain Audio Digital-to-Analog

 Converters & Prods. Containing Same, Inv. No. 337-TA-499, Comm’n Op. at 25 (Mar. 3, 2005).

 Where the record establishes that the calculation of a price differential is impractical or there is

 insufficient evidence in the record to determine a reasonable royalty, the Commission has

 imposed a 100 percent bond. See, e.g., Certain Liquid Crystal Display Modules, Prods.

 Containing Same, & Methods Using the Same, Inv. No. 337-TA-634, Comm’n Op. at 6-7 (Nov.

 24, 2009). The complainant, however, bears the burden of establishing the need for a bond.

 Certain Rubber Antidegradants, Components Thereof & Prods. Containing Same, Inv. No. 337-

 TA-533, USITC Pub. No. 3975, Comm’n Op. at 40 (July 21, 2006).

        The RD recommends that the Commission set a bond based on price differential during

 the period of Presidential review. See RD at 270-71. Specifically, the RD recommends that the

 Commission set a bond in the amount of $441 per 100U vial of Jeuveau® (which reflects the

 difference in the average sales price of [    ] for BOTOX® Cosmetic and the imputed imported

 value of a 100U vial of Jeuveau® of nearly [      ]). See id. at 270 (citing See CX-2331C

 (Allergan Financial Projections for 2019); JX-139C (Stipulation of Material Facts Relating to

 Importation and Inventory) at ¶ 6); accord Complainants’ Resp. Br. at 56-57; IA’s Resp. Br. at

 27-28. The imputed import value is the unit value of Evolus’s U.S. inventories, which is in line

 with the [    ] price per 100U vial that Evolus agreed to pay Daewoong under their license and

 supply agreement. See IA’s Resp. Br. at 27. The RD finds that a bond calculated based on “the




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 difference in average sales price between Jeuveau® and BOTOX® Cosmetic is not sufficient to

 protect Allergan from further injury.” See id. at 271.

          Respondents argue that “the RD calculated a bond rate that is higher than the rate

 requested by Complainants.” See Respondents’ Resp. Br. at 45. Respondents argue that the

 Commission should impose a zero bond because “the Botox Cosmetic list price is $601 per 100U

 vial, whereas the list price for the same 100U vial of Jeuveau is $610 per vial.” See id. at 44

 (citing RD at 271; RX-3158C.61 (Mulhern 44 WS) at Q/A 357; CX-1705C.31 (Moatazedi Dep. at

 125:6-17). Alternatively, Respondents argue that “the experts for both sides . . . concluded that

 a bond based upon a reasonable royalty would be [        ], which is the rate set forth in the

 Medytox-Allergan License Agreement.” See id. at 45 (citing CX-18C.74 (Malackowski WS) at

 Q/A 216; RX-3158.60-62 (Mulhern WS) at Q/A 352, 360-64; JX-50C.38 (Allergan-Medytox

 Agreement)).

          The Commission supports imposing the bond amount recommended by the ALJ, which is

 $441 per 100U vial of Jeuveau®. This bond amount was requested by both Complainants and

 OUII in their briefing to the Commission, and was proposed by OUII in the proceeding before

 the ALJ. See Complainants’ Br. at 56-57; IA’s Br. at 26-28. Bonding is governed by section

 337(j)(3), which states that the bond amount is “determined by the Commission to be sufficient

 to protect the complainant from any injury.” 19 U.S.C. § 1337(j)(3). The statutory language

 referring to protection from “any” injury is broad, and allows the parties to put forward different

 theories to establish an appropriate bond amount for importation and sale of unfair imports

 during the period of Presidential review. Common theories asserted by parties, and accepted by

 the Commission in previous investigations depending on the facts, include bond amounts based


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      Carla S. Mulhern served as an expert for Respondents.


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 on the difference in sales prices between the domestic industry products and the unfair imports

 and bonds based on a reasonable royalty rate. However, those are not the only ways of

 establishing a bond amount sufficient to protect the complainant from any injury under the broad

 language of the statute. See, e.g., Certain Two-Way Radio Equipment and Systems, Related

 Software and Components Thereof, Inv. No. 337-TA-1053, Comm’n Op. at 45-46 (Dec. 18,

 2018) (using lost profits as a basis of a bond amount). Further, the Commission is not required

 to impose a bond amount based on the difference in sales prices between the domestic industry

 and the infringing products if that amount is shown to be insufficient to protect the complainant

 from injury.

        Respondents have a high profit margin in the sale of Jeuveau® since the record shows the

 imputed imported value of about [     ] per 100U vial while the list price is $610 per 100U

 vial. The ultimate sale price to physicians can vary depending on the various discounts Evolus

 offers. RD at 270-271. The record shows Jeuveau® has an average sales price, when the

 discounts are taken into consideration, of about [   ] per vial. CX-18C (Malackowski WS) at

 Q/A 217. The $441 per 100U vial bond recommended by the ALJ reflects the difference in the

 average sales price of [    ] for BOTOX® Cosmetic versus the [      ] imputed imported value of

 a 100U vial of Jeuveau®. RD at 270. Complainants and OUII argue that calculating bond in

 this manner is appropriate because it removes the gross profit from the sale of Jeuveau® and also

 mitigates Evolus’s ability to [



        ] Complainants’ Br. at 57; IA’s Br. at 27-28. Complainants’ expert testified that a lower

 bond amount calculated based on the difference between the average sale prices of BOTOX®

 and Jeuveau® will not adequately protect Complainants from injury because they will still




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 experience lost profits and lost market share with a bond at that level. See CX-18C

 (Malackowski WS) at Q/A 215-217. The Commission finds that Complainants are entitled to

 protection under section 337(j) from the injuries identified and that the record supports a finding

 that the bond amount of $441 per 100U vial is “sufficient to protect complainant” from those

 injuries. The Commission therefore finds that Complainants and OUII have shown that a bond

 amount of $441 per 100U vial of Jeuveau® is warranted on this factual record.

 V.        CONCLUSION

           For the foregoing reasons, the Commission determines that Complainants have

 established a violation of section 337 by Respondents based on the misappropriation of trade

 secrets relating to Medytox’s manufacturing processes. The Commission also determines that:

 (1) the appropriate remedy is an LEO directed against Respondents’ unfair imported products

 and a CDO directed against Evolus for a duration of 21 months; (2) the public interest does not

 preclude this remedy; and (3) the bond during the period of Presidential review is set in an

 amount of $441 per 100U vial of accused product.

           By order of the Commission.




                                               Lisa R. Barton
                                               Secretary to the Commission
 Issued:     January 13, 2021




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 CERTAIN BOTULINUM TOXIN PRODUCTS, PROCESSES                          Inv. No. 337-TA-1145
 FOR MANUFACTURING OR RELATING TO SAME AND
 CERTAIN PRODUCTS CONTAINING SAME

                          PUBLIC CERTIFICATE OF SERVICE

        I, Lisa R. Barton, hereby certify that the attached ORDER, COMMISSION has been
 served via EDIS upon the Commission Investigative Attorney, Monica Bhattacharyya, Esq.,
 and the following parties as indicated, on January 13, 2021.




                                                 Lisa R. Barton, Secretary
                                                 U.S. International Trade Commission
                                                 500 E Street, SW, Room 112
                                                 Washington, DC 20436

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 CERTAIN BOTULINUM TOXIN PRODUCTS, PROCESSES                 Inv. No. 337-TA-1145
 FOR MANUFACTURING OR RELATING TO SAME AND
 CERTAIN PRODUCTS CONTAINING SAME
 Certificate of Service – Page 2

 On Behalf of Respondent Evolus, Inc. :
 Nicholas Groombridge, Esq.                           ☐ Via Hand Delivery
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